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ue) Confronting Campus Sexual Assault: An Examination of Higher Education Claims

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Shortly after the U.S. Department of Education’s Office for Civil Rights (OCR)
issued its April 4, 2011, “Dear Colleague” letter (DCL), UE published Sexual
Assault: Weathering the Perfect Storm, which examined student sexual assault
claims reported from 2006 to 2010.' Our current study, Confronting Campus
Sexual Assault, examines the nature of campus sexual assaults post-DCL to help
educational institutions evaluate their strategies for responding to and preventing

campus sexual assaults.
For this study, UE collected and analyzed data from claim files that:

Involved a student victim
Included allegations of sexual assault

Occurred at a higher education institution

= 2 ee

Were reported to UE between Jan. 1, 2011, and Dec. 31, 2013

This study excluded claims involving allegations that faculty or staff sexually
assaulted students. Also excluded were claim files for which the gender of both
parties and whether they were students was unknown. The final data set included
305 claims reported from 104 colleges and universities throughout the United

States. Files were reviewed individually to examine:
Perpetrator and victim characteristics
Circumstances of the assault

Response from the institution

= 2 ee

Resulting litigation

Our analysis is subject to several limitations and conditions. Claims analysts and
attorneys maintain claim files to manage litigation and resolve claims against UE
members. Because research is not the primary purpose of claim files, our analysis
is limited by the information contained in them. Nevertheless, the files contain
valuable information that would otherwise be unavailable through other means
such as self-report surveys. For example, a claim file can capture a more complete
picture of campus sexual assault because it includes information from both parties

as well as the institution’s investigation and adjudication processes.

Finally, our analysis reflects only UE claims data and should not be generalized
to represent all reports of sexual assault on college campuses. The claims data,
however, enables institutions to draw some meaningful conclusions for use in

responding to and preventing sexual violence on their campus.

 

 

1 Different methodology was used to obtain a larger data set for this study than in the previous study. We
recommend that you not draw conclusions from any differences in the findings between the studies.

 

 

Paes Confronting Campus Sexual Assault: An Examination of Higher Education Claims EduRiskSolutions.org

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Frequency QO Multiple perpetrator sexual assaults. Ten
As HUFig

years thereafter, UE saw a steady decline in the total

   

ure 1 illustrates, prior to the DCL and for two percent of all sexual assault claims involved a
Wed eS, |

single victim and two or more perpetrators.
. More than half of multiple perpetrator sexual
number of reported sexual assault claims. However, by pre perp

the end of 2013, the total number of claims more than assaults involved athletes (40 percent) or

; ; . fraternity members (13 percent). Our review
doubled. We likely can attribute this increase to more y (13 p )

ee Lk . .. . of these claims suggests a subculture within
institutions publicizing their policies and heightened 88

some fraternities and teams that promotes
campus awareness of sexual assault—whether from

hypermasculinity, sexual aggression, and
student-led advocacy or other means. Yt % 88 ;

excessive alcohol consumption. These

While this study draws from data through 2013, sociocultural factors may encourage students
claims are also likely to increase in 2014 and beyond within these groups to engage in or excuse
as institutions evolve their handling of sexual assaults sexual violence. Claims examples include:

to comply with Title IX and the Violence Against
Women Act (VAWA).

¢ Members of a football team were accused
of taking turns sexually assaulting a

Deny ator Cl cdean ged eg ps student who was unconscious from
Perpetrator Characteristics —_

drinking too much.

© Male. Nearly all (99 percent) of the perpetrators

were men. * University basketball players pursued a

female student who they described as

 

© Student. As [7 Figure 2 shows, 84 percent of “shy,” “quiet,” and “lonely” because she

perpetrators were students at the same college or was “easy” to obtain sex from. Players

university as the victim. had sex with the victim on multiple

© Athletics and Greek life. Fifteen percent of occasions. In one instance, five players
perpetrators were athletes, and 10 percent were showed up at her residence hall to have
members of a fraternity. sex with her.

 

 

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© Serial perpetrators. One in five perpetrators
was accused of sexually assaulting more than one
student; 44 percent of these repeat perpetrators
were athletes (20 percent) or fraternity members
(24 percent). While the institution generally
learned of potential multiple victims only after
one victim came forward, in a few instances
the perpetrator had previously been accused
of violating the institution's sexual misconduct
policy. For example, one institution placed a
student on disciplinary probation and required
him to do community service after he admitted
to nonconsensual sexual touching of a female
student. He sexually assaulted another student
the following semester, this time escalating to

nonconsensual sexual intercourse.

Victim Characteristics
© Female. Most (94 percent) victims were women.

© Knew the perpetrator. The majority (90 percent)
of victims knew the perpetrator. ‘The perpetrator
was most often the victim's friend, acquaintance,

classmate, boyfriend, or ex-boyfriend.

a

Perpetrator Profile

Ol

33) Confronting Campus Sexual Assault: An Examination of Higher Education Claims

First- and second-year students.’ Nearly three-
fourths (73 percent) of sexual assault victims

 

were freshmen or sophomores (<1 Fic
highest rate of victimization occurred during
freshman year, followed by a sharp decline
sophomore year and every year thereafter.
First-year students were also most vulnerable
to multiple perpetrator sexual assaults. They

accounted for 88 percent of those victims.

Reluctance to report sexual assault. Nearly 40
percent of victims delayed reporting the sexual
assault to their college or university. On average,
victims delayed 11 months. A review of these
claims revealed several reasons for the lengthy

delay in reporting, including:

OQ the victim blamed herself because she was
intoxicated. Three-quarters of the victims who
delayed in reporting consumed alcohol prior
to the sexual assault. In fact, 26 percent of
victims who delayed reporting had no clear

memory of the assault.

 

 

2 This study only presents findings on victims’ class year because
there was insufficient information on perpetrators’ class year in the
claims files,

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the victim did not immediately label the

incident a sexual assault. In mast cases, the
victim labeled the incident a sexual assault
only after talking with friends or attending

prevention training.

The victim and perpetrator were in a romantic
relationship. We saw a slightly higher rate of
delay when the victim and perpetrator were
in a dating relationship. Nearly 60 percent
of the victims in this subgroup did not
immediately report their sexual assault to the
institution and only came forward after the

relationship ended.

One in five victims did not want the institution
to investigate their sexual assault or take
disciplinary action against the perpetrator. In
52 percent of these claims, institutions did
not investigate the complaint or could not
complete their investigation, for two primary

reasons:

* ‘The institution honored the victim’s
request and did not investigate or take

disciplinary action against the perpetrator

y Class Year

Freshmen
Sophomores
Juniors
Seniors

Grad students

2» Other

Bs Confronting Campus Sexual Assault: An Examination of Higher Education Claims

¢ ‘The institution chose to investigate
against the victim’s wishes, and the victim
became uncooperative, making it difficult

to complete the investigation
Examples of these situations included:

* Auniversity could not investigate a sexual
assault complaint after the victim reported
the assault as part of her recovery and
refused to identify the perpetrator.

¢ A resident assistant (RA) reported a sexual
assault to campus police that a victim
shared in confidence with him. The
college did not complete its investigation
after the victim recanted her original

statement to the RA,

e A student reported an incident of
nonconsensual sexual contact but was
unsure if it was “actually sexual assault.”

Although she did not want the university

to investigate, she did want them to

issue a no-contact order. The university

complied, and the following semester the

student changed her mind and requested

a formal Title [X investigation.

 

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The Circumstances of Campus
Sexual Assault

Location

© More than half (60 percent) of sexual assaults
occurred on campus. The most frequent location
for sexual assaults was the victim or perpetrator’s

residence hall (53 percent).

© Role of off-campus parties. In 41 percent of claims,
the victim and perpetrator attended the same off-
campus party before going back to campus, where
the sexual assault occurred. These off-campus
parties included institution-recognized sorority and
fraternity houses, athletic team houses, and students’
off-campus residences. Nearly 80 percent of the
victims who attended off-campus parties were first

  

and second-year students

The data suggest that easy access to alcohol by
underage students may explain the number of
sexual assaults that occurred after off-campus
parties. The binge drinking and large amounts of
alcohol consumed at these parties is evident by our
finding that 66 percent of the victims who had no
clear memory of the assault drank alcohol at an

off-campus party prior to the assault.

Fresamen

Sophomores

Juniors

Seniors

@28) Confronting Campus Sexual Assault: An Examination of Higher Education Claims

18%

 

Connection to Alcohol

More than three-fourths (78 percent) of sexual assaults
involved the perpetrator, victim, or both consuming
alcohol. Both the perpetrator and victim consumed
alcohol in 88 percent of sexual assaults involving
alcohol. These findings seem to reflect the high rate at

which students use alcohol in their sexual encounters.

We saw the lowest rate of alcohol use when the victim
and perpetrator were in a dating relationship. Only
36 percent of the sexual assaults occurring in a dating

relationship involved alcohol.

 

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Methods of Sexual Assault?

 

gure 5 shows the frequency of each method of

sexual assault seen in the claims.

a

Incapacitated sexual assault.’ Incapacitation

of the victim was the most frequent method of

 

sexual assault seen in the claims (

Examples include:

QO A student with no recollection of consenting
to sexual intercourse was described by the
perpetrator as “drunk but in control.” Other
witnesses described the perpetrator holding
the victim up to walk and the victim
as “clearly drunk” and “drunk but not

stumbling down.”

QO A student alleged that an intoxicated friend

propositioned him for sex when he helped her

 

3. The dynamics of campus sexual assault are complex, and

4

perpetrators may use more than one method to assault a victim.
For example, a victim could be under the influence of alcohol and
meet the standard for incapacitation, but the perpetrator ray
choke or hold the victim down to carry out the assault. For the
purposes of this study, we looked only at the primary method used
and therefore classified assaults such as this example as sexual
assault by physical force.

For this study, it did not matter if the perpetrator gave the victim

alcohol or other drugs, if the victim voluntarily consumed alcoho!
without involvement from the perpetrator, or if the institution's

to bed after she threw up and passed out ina
bathroom. During the college’s investigation
he stated that the victim never said “no,”

“stop,” or struggled.

QO A group of students walked to an off-campus
residence after a party where they were
drinking. One of the students fell asleep on
the living room sofa and woke to find another

student having sex with her.

All of the study’s incapacitated sexual assaults
involved alcohol. In 89 percent of these claims,

both the victim and perpetrator were drinking

 

e 7). The remaining 11 percent of assaults
involved only the victim consuming alcohol.
While we could not identify the perpetrator’s
intent in these claims, the unequal levels of
intoxication could indicate that a small number of
perpetrators targeted intoxicated students. In fact,
serial perpetrators most frequently used a victim’s

incapacitation to carry out the assault (1! Figure 6).

Drug-facilitated sexual assault.’ We saw a

low rate of claims in which the victim was
incapacitated due to unknowingly ingesting a
knock-out or date rape drug, Examples of drug-

facilitated sexual assaults include:

 

adjudication determined incapacitation for it to be classified as an 5 For the purposes of this study, it did not matter if drugs were found

incapacitated sexual assault, in the victim’s syste.

 

 

VICIUD as UP O08 1a Consens becouse Neshe wads drink

incapacitation Passed CUL OF GSieen.

Physical farce | Perpetrator used physical farce or threats of force to carry OUL Ossaull

‘ Perpetrator used no force, Wiredl of force. or coercion, bulionared or nusinterpreled
Failed consent cues or inferred comsent tron slence or lock of resistance.

Perpetrator continued to enoage in sexual contact alter the victim besitated or refused,

Sexual coercion | bul did nol use force,

Te Drug-facilitated | VC Was) -opacaleg due (a un owingly ngesing © knock oul Go) eale rape dug,

 

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QO A student woke up in her dorm room after
drinking with friends at an off-campus party.
She thought she may have been sexually
assaulted and went to the emergency room.
An examination at the hospital revealed
MDMA or “Molly” in her system. The
student told investigators that she only drank

at the party and did not take any drugs.

“= Sexual assault by physical force. More than one-
fourth (29 percent) of perpetrators used physical

“
7 fi i iC force or threats of force to carry out the assault

5). Examples include:

Victi a eis) iS ee » oo & O Astudent consented to sexual intercourse,
but when it started to hurt, she asked her
Passed Out, or Asieep

 

partner to stop. He continued with sexual
intercourse, telling her that it would “stop

hurting in a second.”

 

(1 A student consented to protected sex, but

when there was no condom he was held down
O A victim described meeting the perpetrator
and sexually assaulted.

at an off-campus party. She was already

intoxicated when she arrived at the party QO A student was walking to the bathroom at a
and remembered the perpetrator giving her a fraternity house party when she was pulled
“strong” drink. Later in the evening she blacked into an empty room by an unknown man who
out and remembered only pieces of the assault. beat and raped her.

 

 

ssaull by Serial Perpetrators

iIncapacialon
Physical force
Failed consent

Sexual coercion

EY, Drug facilitated

 

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None of the perpetrators used weapons. Instead,
the perpetrator most often exploited the victim’s
vulnerability from intoxication. Overall, alcohol
was involved in about half of the physical force
sexual assaults with both parties consuming
gure 7),

Although we cannot determine each party's

 

alcohol in most of these claims (

level of intoxication, the victims claimed they
communicated to the other person they did not
want to engage in sex. Asa result, the perpetrator
needed to use some force or threat of force to
carry out the assault. The fact that 11 percent of
the claims involving alcohol involved only the
perpetrator consuming alcohol could also suggest
that alcohol consumption by some students
enables them to more easily use force to obtain sex

when their partner hesitates or resists.

Failed consent. In a number of the claims, the
perpetrator used no force, threat of force, or

coercion, but instead ignored or misinterpreted
cues or inferred consent from silence or lack of

resistance, Examples of failed consent include:

OQ Astudent never asked if he had consent for
sex. He believed, however, that his partner
consented because she kissed him and helped
take off his clothes although she was silent

when they were having sex.

cohol

Be

100% ol Incapactation
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QO A student engaged with another student
in consensual kissing and touching in her
dorm room. They briefly began having sexual
intercourse before the female student asked
the male student to stop because she was a
virgin. The male student said he stopped and
talked with the victim before he got dressed
and left her room. The female student said
that the male student stopped when she told
him to, but that he still took things further

than she wanted to.

( A student reported to her college that she
thought she was sexually assaulted by another
student. She told investigators that “I did not

want to have sex, but it wasn’t like I resisted.”

We classified these as failed consent sexual assaults,

and they accounted for 18 percent of the study’s

 

claims (0 Figure 5), More than two-thirds (70
percent) of failed consent sexual assaults involved
alcohol. In those claims, both the perpetrator and
victim consumed alcohol 63 percent of the time

(

only the perpetrator was under the influence. This

   

‘Figure 7). In the remaining 7 percent of claims,

could support the idea that alcohol consumption
by some students contributes to misinterpreting
sexual interest or ignoring their partner's

hesitation.

Both parties were drinking

Perpetrator only

Victim only

 

65 @ ses coe dan
Cains snvoved acu.

51% of physical force
Calis Evolved acon)

Failed consent Incapacitation Physical force Sexual coercion

 

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Failed consent sexual assaults also had the highest
rate of freshman victims. Nearly half of all victims
were freshmen. This seems to suggest that students
new to the college environment have difficulty
with sexual communications, especially when

alcohol is involved.

Sexual coercion. The least frequent method of
sexual assault was sexual coercion or situations

in which one party used no physical force but

continued to engage in sexual contact after the

 

other hesitated or refused.° However, for assaults
occurring in a dating relationship, sexual coercion
was the most frequent method—accounting for
nearly 60 percent of these claims. Compared to
other methods of sexual assault, sexual coercion
claims had the lowest rates of alcohol use,
although alcohol was still a contributing factor

in 65 percent of the claims. Examples of sexual

coercion claims include:

Q During a sexual assault investigation an
institution found several students who
described the perpetrator as “persistent,”
rca *. ”» ee +

wearing you down,” and “making you go

further than you wanted to go.”

QO A student reported that her boyfriend took
consensual naked photos of her, but then
threatened to post them on social media

unless she engaged in certain sex acts.

OQ A pledge was ordered to perform oral sex on
someone in order to receive a bid from the

fraternity.

 

6 The fact that we looked only at the primary method used to carry

out the assault may be one reasan for the lower rate of sexual
coercion claims. Several of the physical force sexual assault claims
involved the perpetrator using physical force after the victim
hesitated or resisted.

 

itution Received Sexual Assault

Perpetrator found responsible
Perpetrator found not responsible

Institution did not investigate or adjudicate

Perpetrator withdrew prior to adjudication outcome

 

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e Institution’s Response to Sexual
Assault Complaints

Instances in Which the Institution Did Not
investigate or Adjudicate a Sexual Assault Report

In 23 percent of the claims, the institution did not
investigate or adjudicate students’ sexual assault
complaints (7 Figure

 

© Victims were uncooperative. In more than half
of these claims, the victim asked the institution
not to investigate, and the institution honored
that request or the victim became uncooperative,
preventing the institution from fully adjudicating

the complaint (70 Figure 9). Examples included:

QO A student was forcibly raped in her residence
hall by another student. Her friend

persuaded her to report the sexual assault

 

Uncooperative victim
Unable to identify perpetrator

Perpetrator withdrew

» Relied on police investigation

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to campus police, and the school launched
an investigation. The perpetrator hired an
attorney and stopped cooperating with the
school’s investigation. The victim also became
uncooperative because she was afraid she
would lose her boyfriend and did not want
to be known as the “girl who got raped.” ‘The
perpetrator withdrew from school and the

college never completed its investigation.

A student came forward to report that her
friend was sexually assaulted while passed

out from drinking. During the college's
investigation the victim became uncooperative
because she feared her parents would find

out about the rape. The victim ultimately
recanted, saying she and the perpetrator

engaged in consensual sex.

 

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Victim could not identify perpetrator. In 20
percent of these claims, victims had no clear
memory of the assault, which impeded their

ability to identify a perpetrator to investigate.

Perpetrator withdrew. In 13 percent of these claims
the perpetrator withdrew from the institution
before the complaint could be fully adjudicated.

Institution relied on a police investigation. In
4 percent of these claims, the institution failed to
use its internal process because it inappropriately
relied on the criminal justice system to make a
determination for them. For example, a student
pressed charges with local police after he was
sexually assaulted. He sought help from the
institution for a no-contact order, which the
institution issued. The institution, however, did
not conduct an investigation because it believed

that the criminal justice system would punish the

3

perpetrator, which would remove the threat to the

victim and the campus community.

Victim delayed reporting the sexual assault.
Based on this claims data, we suspect that victim
delay in reporting may have contributed to an
institution’s inability to fully adjudicate a sexual
assault report. On average, the complaints that
were not fully adjudicated were reported to the

institution 17 months after the alleged assault.

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Expulsion Suspension

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Limited access

to campus

Institution's Adjudication of Sexual Assault

Complaints

The perpetrator was found responsible in 45 percent
of the study’s student-on-student sexual assaults, while
25 percent of perpetrators were found not responsible.
In 7 percent of the claims, the institution improperly
ended the adjudication process without reaching a

decision when the perpetrator withdrew from the

institution (

 

 

 

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Disciplinary
probation

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Counseling or
taming

 

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“© Expulsion was the most frequent sanction. sexual assault investigation when athletes were
Our data suggest that when sexual assaults are involved. There were only ewo instances in
adjudicated, institutions frequently impose their which the athletic department had any role in
severest sanction. Only 18 percent of claims the process. In both claims, the coaches initially
involved sanctions in which the perpetrator thought the incidents involved only physical
did not receive a suspension or expulsion fighting and punished the players. When they

 
  

’

8). In these instances, the student learned that the incidents involved sexual contact,

 

perpetrator was most frequently removed from the coaches stepped back while the institution
on-campus housing and permitted access only to conducted a Title IX investigation. In each
academic buildings on campus. instance, the perpetrator was found responsible for

violating the institution’s sexual misconduct policy.

“~~ Method of sexual assault and likelihood of

expulsion. The method used by the perpetrator “| Adjudications involving athlete perpetrators.
to carry out the assault may have been a factor Given the frequent media attention that describes
in an institution's choice of sanction. More than institutions treating athletes more favorably
four-fifths (82 percent) of expulsion sanctions and not holding them accountable for sexual
were for perpetrators who either took advantage misconduct, it was surprising that our claims

of a victim's incapacitation or used physical force data showed that almost two-thirds of athlete

 

we 71), Disciplinary probation and lesser perpetrators were found responsible through the

       

sanctions were most often imposed by institutions institution’s adjudication process (

when the sexual assault involved failed consent
"Addressing the role of team culture in athlete

 

11). perpetrated sexual assaults. While the claims
Investigation and Adjudication of Complaints data show that most athlete perpetrators were
Against Athlete Perpetrators held accountable for violating the institution’s

sexual misconduct policy, the team itself was often

Athletic department involvement in sexual overlooked during an institution's investigation.

assault investigations. Our study found no In a quarter of the multiple perpetrator assaults

; , ce
athletic departments overseeing an institution's by athletes, the institution never assessed whether

 

 

Expulsion

Disciplinary probation

Failed consent incapacitation Physical force Sexual coercion

 

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the perpetrator’s conduct was part of a larger

team culture that created a hostile educational
environment. In one claim, for example, a
disciplinary committee found two athletes not
responsible for sexual assault, but the investigation
revealed that the team frequently threw parties at
which players would take turns having sex with
“drunk girls.” The institution’s investigation did not
examine whether the team’s conduct was a violation
of the institution’s sexual harassment policy or other

provisions of the student code of conduct.

Litigation Arising From Campus
Sexual Assaults

More than one-fourth (28 percent) of the sexual assaults

 

reported to UE resulted in litigation.’ As }
illustrates, there was an equal rate of OCR complaints

and lawsuits filed against educational institutions.

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7 The term “litigation” in this study refers to lawsuits, complaints filed
with OCR, and demand letters from claimants that may never result
in a lawsuit or OCR complaint.

Over the three-year period, UE and its members spent
approximately $17 million defending and resolving
sexual assault claims. Defending the institution’s
investigation and adjudication process was costly.
Approximately $9.3 million (or 64 percent of the total
losses) was spent on defense costs. Half of these costs

were for defending institutions in OCR investigations.
Litigation Brought by Victims

Victims brought the most litigation against
educational institutions and accounted for 68 percent
of the litigated claims in this study. All of the OCR
complaints filed against educational institutions were
initiated by victims. Victim-driven litigation was also
the most costly for institutions. It accounted for 84

percent (or $14.3 million) of the total losses.

Litigation does not appear to be driven by
adjudicatory findings, but it may be driven by the
severity of the sanctions issued. For example, in
48 percent of litigation brought by victims, the

institution found the perpetrator responsible for

Athlete Perpetrators and Adjudicator Findings

Responsible

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Not responsible

ce

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ee
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a

Withdrew prior to
adjudication outcome

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violating its sexual misconduct policy. However, 0

in only one-third of these cases where there was a

finding of responsibility was the perpetrator expelled.
Victims’ Allegations
Title IX

QO Discouraged pursuit of a complaint. Neatly
three-quarters of the litigation initiated
by victims alleged a Title IX violation

(HEF
of these Title [X claims alleged that the

 

5). Less than half (41 percent)

institution discouraged the victim from
pursuing an internal complaint or reporting

the assault to the police. Examples include:

e Allegations that a staff member told the
victim that the perpetrator had been

“punished enough.”

* A college dean telling a victim that he would
try to get the perpetrator to withdraw from
the institution so she would not have to deal

with the disciplinary process.

* When trying to manage expectations about
the investigation and disciplinary process,
a staff member told a victim to expect a
“grueling” process if she wished to pursue

her complaint.

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Expulsion Disciplinary Suspension
probation 1 year or less

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Failed to conduct timely investigation.
Additionally, victims’ Title IX claims
frequently alleged that the institution did
not conduct a timely investigation. A review
of these claim files revealed that many of
the allegations concerned students and staff
misunderstanding reporting obligations and
confidentiality under the institution’s sexual

misconduct policy. Examples include:

* A student reported that she was sexually
assaulted to a counselor at the university's
counseling center. The student thought
her disclosure would launch a Title IX
investigation, but the counselor never

disclosed the assault due to confidentiality.

* A student told her resident advisor (RA)
that she was sexually assaulted, but the
RA never reported it to the college’s Title
TX coordinator. A friend of the victim
eventually reported the assault to the Title
IX coordinator and the institution began

its investigation.

¢ Astudent athlete told her coach that she
had been missing practice because she
had been raped earlier in the semester.
‘The coach notified the athletic director

who recommended that she direct the

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student to the counseling center. Neither
contacted the Title [IX coordinator or

campus police.

O Inadequate sanctions. Nearly a quarter of
victims Title IX claims alleged that the
sanctions imposed were inadequate and
created a hostile environment for the victim

on campus. Examples include:

* A perpetrator was permanently removed
from campus housing after being found
responsible for sexual harassment and
sexual assault. The victim challenged the
sanction alleging that it was inadequate
and that the perpetrator had received

special treatment due to his popularity.

* A student complained when her
perpetrator received only a one-semester
suspension and 10 hours of community
service after he was found responsible for

nonconsensual sexual intercourse.

Negligence. Nearly half (40 percent) of victims
alleged that the institution was negligent in

its investigation or negligent in training staff

 

to handle sexual assault reports (2 Fic

Victims claims against the institution were

OCR complaint .

particularly compelling when the adjudicator’s
written decision signaled problems with
understanding the dynamics of sexual assault
or the institution’s sexual misconduct policy.

Examples include:

0 A hearing panel had trouble understanding
and applying the preponderance of the
evidence standard to a sexual misconduct
case. It ultimately found the student not
responsible, but noted in its decision that
+ a + bp.
it was “more likely than not” that the
perpetrator failed to obtain the victim's

consent,

QO An institution’s sexual misconduct policy
provided that students should not assume
consent and that it was the responsibility
of the initiator of the sexual contact to
confirm the other party's consent. A
disciplinary committee found two students
not responsible for violating the sexual
misconduct policy, but noted in its written
decision that the students “acted recklessly”
in assuming the victim’s consent and ignored
all of the “signals of apprehension, anxiety,

and mixed messages.”

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* The term “ligation” in this study refers to lawsuits, complaints fled with OCR, and demand letters from claimants that may never result in a lawsuit or OCR complaint,

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O A hearing panel found a student not
responsible for violating the institution's
sexual misconduct policy, but ordered him to
participate in consent training because they
were troubled by his admission that he had
sex with other intoxicated students besides

the victim.

Breach of contract. Nearly one-third (32 percent)
of victims alleged the institution failed to follow
its own process and procedures when investigating

and adjudicating sexual assault reports

 

Figure 75), In their breach of contract claims,
victims most often challenged the sanctions
imposed on the perpetrator. Specifically, a
seemingly arbitrary appeal process and negotiating
with the perpetrator to avoid litigation formed

the basis of victims breach of contract claims.

Examples include:

QO After finding a student responsible for violating
the institution's sexual misconduct policy,
the disciplinary committee recommended
expulsion, The student appealed and the
president reduced the sanction to one-
semester suspension. The president did not
articulate a reason for reducing the sanction or

communicate the change to the victim.

llegations

QO A student was found responsible for sexual
assault and suspended, but while he appealed
the decision, his attorney negotiated a
settlement to avoid litigation. The student was
able to choose whether to proceed to a new
hearing or withdraw from the institution and

receive a tuition refund.

0 An institution considered an accused student's
appeal because his attorney threatened
litigation, although the student failed to meet
the appeal filing deadline and did not have
sufficient grounds for the appeal under the

institution's grievance policy.

0 Asa result of negotiating with the perpetrator,
an institution agreed not to issue the
recommended sanction until after the accused
student withdrew, enabling him to transfer to

another college.
Litigation Brought by Perpetrators

Nearly one-third (32 percent) of the litigation against
institutions was initiated by students accused of sexual
assault. Sanctions often drove the litigation. More
than half of the perpetrators who brought litigation
had been expelled from the institution. However, a

little more than a third of the perpetrators were given

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Negligence

Breach of contract

intentional infliction of emotional distress

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QO ‘The institution imposed harsh and
disproportionate sanctions.

QO The institution did not consider the student’s
good disciplinary and academic records when

imposing sanctions.

0 To show a pattern of predatory behavior, the
institution considered allegations of prior
misconduct that were either unrelated to the

pending matter or were unsubstantiated.

QO ‘The institution did not consider exculpatory

 

evidence such as text messages from the victim

light sanctions or no sanctions at all. Additionally, in which she did not refer to the incident as

72 percent of perpetrators who sued the institution sexual assault.

also sued the victim for defamation or slander. These O The institution did not allow the student to

findings may suggest that, for some perpetrators, present evidence about the victim’s sexual

litigation is a means to repair their reputation. history or reputation

Perpetrators’ Allegations & Title DX. In their Title IX claims, perpetrators

wo . . . focused on the institution’s sexual misconduct
IM) Figure 16 depicts the five most frequent allegations oo, -
Lo, policy. Specifically, they argued that the policies and
made by perpetrators against educational institutions.

process were inherently discriminatory toward men

“© Negligence and breach of contract claims rooted or that an unfair outcome was reached to stave off
in the adjudicatory process. Student perpetrators adverse OCR findings. For example, a perpetrator
were most often dissatisfied with the institution's alleged that the university found male students
adjudicatory process and challenged its fairness. responsible for sexual assault based on their gender
‘Typical allegations included: regardless of the evidence or lack thereof.

 

 

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© Requests for injunctive relief. More than a third (36 percent) of perpetrators

sought a temporary restraining order (TRO) or preliminary injunction to stop ey United

the institution’s adjudication process or the imposition of sanctions. Courts my, Educators

granted approximately 20 percent of perpetrators’ requests. This tells us that

some courts are willing to examine the fairness of an institution’s policy and EduRisk™ provides

process. Examples include: education-specific risk

management resources to

QO A court denied a student's request to be immediately readmitted to the colleges and schools and
university, but ordered the institution to reconsider the length of the suspension is a benefit of membership
imposed. The institution ultimately decided to shorten the suspension and with United Educators

(UE). As a member-owned
company, UE is committed
QO A student was at the end of his final semester before graduating when he was to helping educational
found responsible for sexual assault and suspended. He filed a TRO, which institutions by offering
stable pricing, targeted
insurance coverage,
extensive risk management

QO Although the court denied a student's TRO, it voiced several concerns about the resources, and exceptional
claims handling.

allow the student to return to campus prior to the victim's graduation.

the court granted. The student was allowed back on campus to finish his

courses and graduated from the institution.

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institution's internal process and noted that it seemed “arbitrary and capricious.

To learn more, please
visit wuw.UE.org,

 

UE claims show that colleges and universities respond to some of the most difficult
sexual assault cases. Although addressing student sexual assaults is a formidable
task, the information from this study can help institutions understand this complex
environment and develop an integrated and comprehensive plan for responding to

and preventing sexual assaults on campus.

Ackn owledgment

“Confronting Campus Sexual Assault” was prepared under the direction of Alyssa
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Keehan, JD, director of risk research at UE. Emily Caputo, JD, served as as the

y Wap
primary researcher, and Hillary Pettegrew, JD, and Melanie Bennett, JD, served as

assisting researchers.

 

 

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Student Sexual Assault: Weathering
the Perfect Storm

By Alyssa S. Keehan, Senior Risk Management Counsel

incidents of student-on-student sexual assault are a “perfect storm,’ a confluence of some of the most difficult student
risk management issues—aicohol, mental health, and sexual violence. The safety and liability risks posed by student
sexual assault are significant and made more challenging because the underlying circumstances are often unclear.
Most situations involve acquaintances, no witnesses, and an unclear memory of events due to alcohol abuse.

From 2006-2010, United Educators (UE) received 262 claims of student-perpetrated sexual assault, which generated
more than $36 million in losses for UE and our members. The claims data show that students accused of perpetrating
asexual assault are just as likely to sue the institution as accusing students. As colleges review their student sexual
assault practices in light of the April 2011 “Dear Colleague” letter (DCL) from the U.S. Department of Education's Office
for Civil Rights (OCR), institutions should strive to provide a fair and impartial response to both parties until the matter
is resolved.

WE Claims Data

Student-on-Student Sexual Assault

in UE’s five-year study, 96 percent of the student-on-student sexual assault claims involved acquaintances. Students
accused of assault brought 54 percent of the claims and comprised 72 percent of the financial losses—composed of
legal fees and payments to claimants. The remaining claims and losses were brought by accusers.

 

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Common Factors in the Claims

 

in 92 percent of the claims with losses, the accuser was under the influence of alcohol, and more than 60 percent of

accusers were so intoxicated that they had no clear memory of the assault. In addition, 63 percent of the accusers

were first-year students, Prior to the assault, 33 percent of the accusers battled mental health issues such as eating

disarders,' personality disorders, suicide attempts, or trauma from a previous sexual assault. Another frequent

factor was varsity athletes as alleged perpetrators. Although athletes are about 10-15 percent of an institution's

student population, they comprised 25 percent of the study’s alleged perpetrators.

 

 

 

 

 

 

   

 

 

Liability Theories

Three-quarters of the student sexual assault claims resulted in litigation. Claimants argued that educational

institutions:
@ Did not follow their policies and procedures
@ Had confusing or unclear policies and procedures
@ Did not respond promptly or reasonably to an assault report
@ Treated the victim or the perpetrator cruelly or unfairly

These four issues translated into the following causes of action (in order of frequency): negligence, breach of

contract, Title IX violations, intentional infliction of ernotional distress, and fraud. Less commonly alleged causes

of action included defamation, due process violations, and breach of the covenant of good faith and fair dealing.

Lessons From the Claims

The following strategies focus on promoting fair and impartial behavior by colleges in responding to

complaints of sexual assault, administering the disciplinary process, and communicating with others about
student sexual assault.

1 Although conditions such as an eating disorder may seem unrelated to sexual assault, prior mental health issues become important in
determining emotional distress darnages for a victim.

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Responding to Complaints of Student Sexual Assault

Lesson 1: Promptly investigate sexual assault complaints.

The DCL states that most investigations should be completed within 60 days of the initial report unless there
are complicating factors such as multiple incidents. Principles of tort law also dictate that an institution should
respond promptly when notified of a risk. In nearly half of the claims studied, the institution’s investigation took
longer than three months to complete, or no investigation was conducted. This delay or inaction angered both
parties. Accusers thought the institution did not take their complaint seriously, and the accused thought the
process was unnecessarily drawn out, causing them additional stress.

institutions should prevent the following traps from stopping or delaying investigation:

@ Waiting for a parallel police investigation to conclude. The DCL requires prompt investigation but allows
institutions to temporarily delay investigations while law enforcement collects evidence. Institutions should
begin their own investigation before the criminal investigation concludes. If police request a delay of more
than 10 days, institutions should obtain a written directive from the police specifying a date when the
institution may begin.

@ The victim prefers not to pursue the complaint. Under Title iX, the obligation to protect the greater
campus community from sexual assault supersedes an accuser’s wishes. Therefore, an institution cannot
honor an accuser’s request not to investigate a complaint. An accuser who requests anonymity should be
advised that he or she will be protected from retaliation and that anonymity may limit the school’s ability to
respond. in deciding how to proceed, institutions must weigh the complainant's anonymity request against
the accused's potential danger to other students. The following sample language is based upon Haverford
College's sexual assault policy and explains this important requirement well.

“Withile the college will make every effort to safeguard the identities of students who seek help or

report, as a requirement of Title LX the college must investigate and take action once it becomes aware
of q sexual assault allegation whether or not the student chooses to pursue a complaint”

 

@ The alleged student perpetrator is no longer a student. in about 25 percent of UE's claims, the institution
terminated its investigation after the alleged perpetrator withdrew from the college. In these situations,
institutions should still complete the investigation and note on the student's transcript that he or she
withdrew while a disciplinary action was pending. These actions are helpful if the student attempts to re-
enroll or apply at another institution and to bring closure for the complainant.

@ The incident occurred several months before the student submits a complaint. Many student discipline
policies impose a limited time period for reporting assaults such as six months, two years, or “as long as
one of the parties is a student.’ These time limitations are controversial. While OCR is silent on the reporting
periods, institutions should not require an unreasonably short period for reporting incidents. In the claims
reviewed, the accuser often did not immediately report the incident, but waited days, weeks, or months
before coming forward. Institutions should allow ample time for reporting sexual assaults, but their policies
should warn that the time elapsing between an incident and its report could negatively affect the quality of
the evidence and the investigation.

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@ The parties want to resolve the matter informally. Before offering an informal resolution option’, an
institution shouid investigate the underlying complaint. Consider this scenario based on a UE claim:

A student reports an assault, and the college (without investigating) offers to resolve the matter
informally, The student agrees and, through the informal resolution process, reaches an agreement
with the accused. After a few months, the accusing student tells her parents about the assault, Angry,

the parents fle ad complaint with OCR, OCR investigates and tells the institution that It must investigate
the underlying complaint. The accused student tells the institution that if It re-opens the matter to
investigate, he will sue for breaching the terms of the resolution agreement.

 

Failure to conduct an investigation forced the institution to breach the terms of its resolution agreement. An
investigation is also important for determining whether an informal resolution is appropriate. For example,
if the institution's investigation reveals that the accused student was the subject of a prior sexual assault
complaint er that he has assaulted others, informal resolution is not a good option.

Lesson 2: Clearly understand how local police, campus security, and student discipline will
coordinate response to sexual assaults.

Many claims indicated slow or poor coordination between local police and the institution's representatives.

As aresult, complaints were not resolved in a timely manner. Accusers were not informed about the status of
their complaints or the entity—local police, campus security, or student discipline—handling it. To avoid these
problems, consider the following actions:

@ Draft or update a memorandum of understanding (MOU) between local law enforcement and the
institution addressing:

2 = Which law enforcement body has jurisdiction for investigating crimes occurring on campus and off
campus on property owned or not owned by the institution

=» How local law enforcement will inform the Institution about reports it receives involving students,
faculty, and staff

= Who from the institution will act as liaison with local law enforcement and vice versa

2 How local law enforcement will keep the institution informed of investigations involving students,
faculty, and staff

= The general timeframe needed by local law enforcement to conduct a sexual assault investigation,
such as three days, 10 days, or more

@ Ensure representatives from student discipline, campus security, and local police communicate
regularly. On a quarterly or at least an annual basis, institutional representatives should meet with local law
enforcement to discuss any coordination issues and review the terms of the MOU. Large institutions with
numerous reports may need more frequent meetings.

@ Keep the parties informed. The DCL requires that institutions give periodic status updates to the parties. In
UE's claims, failure to communicate often fueled the parties’ anger against the institution.

2 While OCR does not consider traditional face-to-face mediation appropriate for resolving sexual assault complaints, OCR has recognized
that other types of informal resolution, such as “shuttle diplomacy,’ may be appropriate.

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Lesson 3: Document the institution’s initial meeting with the victim.

Following report of an assault, accusers often had a different recollection than the institution about what was
discussed and decided. During this first meeting, accusers were often emotional, which can affect memory, cause
confusion about rights and resources available, and create ambivalence about filing a complaint.

For these reasons, UE recommends that institutions follow the initial meeting with a letter to the complainant
that summarizes the options and resources provided to the student. Institutions should request a signed
acknowledgment of receipt as well as a written statement indicating the course of action the student wishes to
pursue. Institutions may also consider sending a later email repeating the information from the letter and asking
whether the student has further questions or needs assistance. This provides documentation to:

@ Victims regarding their available rights and resources.

@ Victims’ parents wanting to know what the institution has done in response to their child’s
reported assault.

@ The institution by providing a record, in the event of litigation, of what it discussed with the victim.

@ The institution for complying with OCR’s Title [IX regulations. OCR requires that when a student reports
an assault, a school must apprise them of:

» The institutions investigation process, including the importance of treating both parties equitably

« The institution’s formal and informal resolution procedures, making clear that students are not
required to work out issues directly with each other and that mediation is not used in sexual
assault cases

# The availability of on- or off-campus counseling services
» Possible academic accommodations

« The institution's prohibition against and the steps it will take to protect complainants from retaliation

Lesson 4: Refrain from concluding whether an assault occurred in an investigator's report.

in a few claims, the Investigator concluded in a written report whether an assault occurred. These conclusions
drove claims when the college’s hearing panel reached a different decision. Even when a hearing committee
agrees with the investigator's conclusions, litigants can attack the investigator's report for unduly influencing the
panel's decision. For these reasons, institutions should require that investigators stick to the facts and not opine
about whether an assault occurred. Rather, an investigative report should highlight the strengths and weaknesses
of a complaint and determine if there is enough evidence to proceed with a hearing. To manage expectations,
institutions should present their investigate reports using language such as:

“This report outlines the facts based upon the evidence gathered during the investigation. Additional facts may
be developed prior to or during the hearing of this case. The decision to grant a hearing does not compela

particular finding by the Board nor does it suggest that the evidentiary burden will be met.”

 

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Administering the Disciplinary Process

Lesson 5: Provide the accuser and the accused each with an institutional liaison to navigate the
disciplinary process.

While most institutions provide resources and support to students alleging sexual assault, many do not provide
similar resources to accused students. One-third of the claims brought by the accused alleged the institution
provided them with unequal support. Accused students felt the lack of support showed institutional bias and

a presumption of guilt. UE recommends that institutions provide each party with a trained liaison familiar

with the institution’s process and code of conduct. Liaisons explain the process, arrange for academic or other
accommodations, explain a case's strengths and weaknesses, ease anxieties, and show the parties that the college
is committed to a fair process.

Lesson 6: Carefully consider the role of lawyers in disciplinary hearings.

in the claims, institutions often banned lawyers from their disciplinary hearings. Due to the quasi-judicial nature
of these hearings and the high stakes of their decisions, these bans upset the parties—particularly the accused.
UE recommends that institutions clarify that disciplinary hearings are an informal process for determining
whether a student has violated the college's discipline code. These hearings are not adversarial and not akin to
court proceedings. For example, The Rhode Island School of Design's student code of conduct uses the following
language:

“The Code is neither a criminal nor a civil code and does not operate like one. Cur expectations for our fellow
community members are for a significantly higher standard of conduct than the bare minunum prescribed

by law... Because the purposes of the Code are different from the purposes of law, the procedures by which
the Code is implemented are, by design, more informal and less adversarial than those of a court...

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As an alternative to banning lawyers from the discipline process, many institutions allow them to participate in
a non-advocacy role. Lawyers are not allowed to cross-examine or speak on their client’s behalf but can quietly
advise them. If there is a concurrent criminal investigation, institutions should allow lawyers to participate ina
non-advocacy role at hearings.

Lesson 7: Pay attention to how evidence is collected and permitted at hearings.

in nearly half the claims, one party contested how evidence was gathered or what evidence was allowed at the
disciplinary hearing. Usually, a party perceived that he or she was not allawed to present evidence that told his or
her full side of the story or that the other party’s evidence was treated differently. For example, some complained
they were prohibited from presenting evidence about a prior sexual relationship or that their witnesses were
required to wait much longer than the other party's witnesses before giving their testimony. To ensure the parties
feel their evidence has been fairly and appropriately considered, consider these practices:

@ Select investigators and hearing officers with the “right” temperament. When selecting investigators
and hearing officers, temperament is more important than academic qualifications. Colleges should look for
individuals who are nonjudgmental, good listeners, and well organized.

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@ Train investigators and hearing officers. To ensure investigators and hearing officers remain fair and
impartial, institutions should provide training, preferably from trainers who are not advocates. While
advocates possess relevant expertise, their bias for a particular perspective can affect the real and perceived
impartiality of the institution's hearing. For training, consider using:

a Law enforcement or district attorneys who specialize in sexual assault cases
* Qutside counsel with experience investigating and handling sexual assault cases
« National conferences addressing campus sexual assault

# In-house experts, such as institution researchers who are studying the issues of alcohol or
sexual violence

Additional training recommendations are contained in the Resources section.

@ Provide equal access to each party’s evidence. OCR requires that, prior to the hearing, both parties
have the same rights to obtain timely access to information that will be used at the hearing, such as each
other’s written statements. Similarly, during the hearing, the parties should have the same rights to present
evidence and witnesses, including character witnesses.

@ Do not unreasonably restrict evidence. institutions should use the following guidelines for allowing
evidence:

# Institutions should look for ways to allow the parties to feel heard and err on the side of allowing
rather than excluding information. For example, if a party or his or her parents want to submit a written
statement, allow this if a copy of the statement is provided to both sides.

# In the institution’s code of conduct, use broad language that gives the institution flexibility on
what evidence to allow. The following excerpt from Duke University’s student conduct policy is
a good example.

“The hearing panel will decide what testimony, witnesses, or other information is relevant, and
may exclude information or a witness that is deemed immaterial or irrelevant”

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Lesson 8: Separate other punishable behavior of the perpetrator or the victim, such as alcohol or
drug consumption, from the alleged sexual assault.

As mentioned, UE's claims demonstrate that the majority of student sexual assaults occur in connection to other
prohibited campus behavior, such as alcohol use. When a hearing combines charges for an assault with other
misconduct, negative consequences can result. For example, it can inhibit an accuser from reporting, make it
difficult for institutions to keep the issues separate, and cause the parties to believe the institution is biased against
them. In 25 percent of claims studied, accusers and accused students felt their admission of guilt for other behavior
affected the outcome of their sex assault case. OCR also recommends that institutions address other rule violations
separately from a sexual violence allegation.

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To promote a fair hearing process for complaints of sexual assault, consider using one of these approaches:

@ Give immunity to both the accused and the accuser for drug and alcohol violations occurring in connection
with an assault

@ Hold a separate hearing for related nonassault infractions of the student discipline code

Lesson 9: Provide both parties with adequate time and information to prepare for a hearing.

Complaints about the jack of advance notice of the hearing, evidence, and charges were made in 60 percent of
claims initiated by the accused. In some cases, the institution gave as little as 12 hours’ notice of an impending
hearing while the majority gave about three days. Also, none of the cade of conduct policies from UE’s claims
addressed whether the institution would provide advance notice of the evidence and charges.

While there is no legal standard, UE recommends that institutions should strive to provide the accused and accuser
with at least five days’ notice of a discipline hearing and three days’ notice of the evidence and charges. Due to the
serious nature of the charges and the potentia! penalty, the parties may need time to find and consult with a
lawyer. Moreover, the parties will probably need time to understand the charges and the evidence and prepare
their case. The parties may also want time for their parents to travel to the institution and provide them with moral
support during the hearing.

Communicating With Others About Student Sexual Assault

Lesson 10: Consider the role of parents when addressing student sexual assault.

in more than half of the study’s claims, parents were noted as a key factor. Parents complained that the institution
did not notify them about the assault or keep them informed of the institution’s response, react quickly enough to
their child’s reported assault, or consider the impact of the accusation on them or their child.

To incorporate parents in an institution’s response, consider including information for parents about sexual
assault in college policies, websites, and other communications. For example, institutions can state when
parents will be notified of an assault involving their child and what parents should do if their child reports or is
accused of assault.

in addition, institutions should address the issue of parental notification in the initial meetings with the accuser
and accused. Document these discussions. While institutions do not need to encourage parents to attend hearings,
they should allow attendance upon parent or student request. In UE’s experience, parents become angry and
suspicious when they believe the institution is keeping key information from them.

Lesson 11: Train students on the connection between alcohol and student sexual assault.

Alcohol was a significant factor in nearly ail of the claims studied. Student training programs should address the
connection between alcohol and sexual assault. Institutions may also consider addressing other common factors
from the claims, such as a student's age and mental health.

The following are examples of training on the alcohol and student sexual assault connection:

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United Educators | Risk Research Bulletin | 9

@ The University of Pacific conducts joint student education programs on alcohol and sexual misconduct that
target populations known for high alcohol use, such as Greeks, athletes, and first-year students.
edu/Camous-l Me/Safety-and-Conduct/Student-

   

cluct/SewualAssault-Prevertion-Program nf

@ Boston University trains local bar owners about student sexual assault and how to identify situations that
may lead to an assault. www Jouwedu/today/20) |Aalkino-about-aiconol-and-sexual-violence/

@ Columbia University has created a list oftips to reduce a student's risk of becoming a perpetrator or victim of

 

icobolsexual-assault

 

sexual assault when alcohol is involved. nito://nez columbia. eduoviesAdolience

Lesson 12: Use a multidisciplinary team model to improve response to, and prevention of, student
sexual assaults.

A well-coordinated response to a student sexual assault involves several departments, such as the Title IX coordinator,
dean of students, campus security, student discipline, counseling, and academics. Poor communication between
these departments drove claims by leaving gaps in the institution's response. Consider this example:

Alter being sexually assaulted, a student struggled academically for months, She decided to report the
matter to the institution's litle IX coordinator. The student told the coordinator that she would like to pursue

the matter criminally, too. [he coordinator said she would pass along the report to police. A day alter the
student made the report, the institution placed heron academic probation, which upset her. Ihe litle IX
coordinator neglected to tell police about the assault.

 

To avoid similar communication problems, institutions should consider taking these steps:

@ Create or use an existing multidisciplinary team to coordinate resources for students reporting sexual
assault. Multidisciplinary teams facilitate timely communication and include varied, expert perspectives,
increasing the likelihood that the college's actions will be prompt, thoughtful, and informed. Threat
assessment or student behavioral concerns teams can serve as good models

@ Use an existing student behavioral concerns team to prevent sexual assaults. Many accused and
accusing students in the claims were struggling or acting out prior to the assault. Some had attempted
suicide, been hospitalized for intoxication, or been previously accused of a sexual assault. A college's
behavioral concerns or threat assessment team typically strives to intervene with students displaying
concerning behaviors and can play a role in preventing student sexual assault.

Lesson 13: Develop a public relations strategy for student sexual assault.

An alleged sexual assault can quickly develop into a communications crisis for a college. How an institution
communicates to various audiences about an alleged assault significantly affects whether the parties involved feel
fairly treated and the institution suffers any reputational damage. To ensure institutions are prepared, consider
taking these steps before a sexual assault develops into communications crisis:

@ Create a team of key decision makers. Effective communication in a crisis requires input fram many
campus departments. To streamline the process of gathering necessary input during a crisis, create
a multidisciplinary team of campus representatives that includes the director of public affairs or
communications, the head of campus law enforcement, the president, dean of students, general counsel,
and head of IT.

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| United Educators | Risk &

@ Develop messages that answer the questions likely to be posed during the crisis. If a campus sexual
assault receives media attention, institutions should try to anticipate questions they will be asked. Colleges
should refrain from speculation and should instead emphasize that they take the allegations seriously and
have a process to deal with the allegations.

@ identify and train media spokespeople. All individuals on an institution's communications team
should receive media training from a reputable public relations firm or an in-house expert so they can
effectively deliver the institution’s key messages. Institutions should clearly identify and limit the number of
spokespeople in a crisis to ensure a unified and consistent message.

Conclusion

Student sexual assault combines higher education’s most confounding issues, such as alcohol, mental health,
and sexual violence. UE's claims show that institutions should not develop procedures unreasonably favoring
the accuser or accused. Rather, from a safety, liability, and reputational perspective, institutions need to establish
practices that assure a fair and impartial response to both parties.

resources

Title IX Training Resources

@ Margolis Healy and Associates

     

healy.com/

wwwane Y

Margolis Healy is a consulting firrn of nationally recognized experts who specialize in higher education

c

safety issues, including sexual violence. Its training workshops have addressed the following areas of Title IX
compliance: understanding the procedural rights of victims and alleged perpetrators, the Clery Act, the student
judicial process, understanding the nature of violence against women in crimes on campuses, defining roles
and confronting conflict among stakeholders, and conducting an investigation. The firm often collaborates
with UE Select Counsel Jeff Nolan, who frequently consults and trains on legal aspects of Title IX.

@ Gina Smith, Ballard Spahr

www.balls

 

nabrcorm/peonle/atiorneys/smith ging.aspx

Smith is a law firm partner and former Philadelphia district attorney who specializes in the investigation

and prosecution of sex crimes and child abuse. She conducts training for various university constituencies,
including sexual assault response teams, judicial hearing boards, and members of the campus community.
Smith and her team also advise colleges and universities about sexual misconduct investigations and
policies, changes in the law, and investigations into charges of sexual misconduct, including sexual violence.

@ Kathryn Bender

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Bender is a lawyer with more than 25 years of experience practicing law, including serving as in-house
counsel to a private university, attorney for a state university system, and serving on the Board of the
National Association of College and University Attorneys. Bender conducts training for Title IX coordinators.

@ Amy Foerster, Saul Ewing

www.saul com/attorneys/hio

 

spx?attigis:

Foerster is a lawyer who co-chairs Saul Ewing's Higher Education Practice Group. Prior to joining the firm, she
was a senior deputy attorney general with the Pennsylvania Office of Attorney General, where she defended
the commanwealth against claims brought under Title IX.

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The Association of Student Conduct Administration

The Association for Student Conduct Administration (ASCA) comprises professional educators responsible
for administering standards of student conduct within colleges and universities. ASCA annually provides
training programs for conduct administrators. The Donald D. Gehring Campus Judicial Affairs Training
Institute provides training on basic judicial, mediation, and legal issues, and advanced training for more
experienced conduct administrators.

United Educators Resources

“UE's Title IX Advisory Series 1-6", 2011.

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The advisory series breaks down the issues covered by OCR’s “Dear Colleague” letter into six topics: FAQs
about the DCL, requirements for Title IX coordinators, revising nondiscrimination policies and grievance
procedures, responding to complaints and conducting investigations, conducting hearings in sexual assault
and harassment cases, and required training and prevention measures. Each advisory summarizes the basic
compliance requirements imposed by OCR and contains citations to helpful documents such as madel
institutional policies, OCR Title IX compliance reviews of colleges, and previous OCR guidance addressing
Title IX and sexual harassment.

“Checklist for Complying With OCR’s ‘Dear Colleague’ Letter on Student Sexual Assault and
Harassment.” From the UE Teolbox, 2011.
ies(Sherecd RMU Nle IX Advisory Checdist for Como ying With OCk s Dear

 

This publication covers the topics that educational institutions should address when reviewing and revising
their policies and practices on student sexual assault and harassment. Many items covered are specifically
discussed in the DCL, while some are practices recommended by United Educators.

“Challenging Issues in Complying With Title IX on Student Sexual Assault and Harassment.”
Webinar jointly sponsored by United Educators, the American Council on Education, College and
University Personnel Administrators, and the National Association of College and University Attorneys.
November 2011.

wwwueorg/Learn/Titel xAcvisoryasnx

In this webinar archived and downloadable on UE's website, legal and student affairs experts addressed
the major challenges colleges face in interpreting and implementing the DCL, lessens from studying UE's
student sexual assault claims, and specific steps for institutions to take in complying with the DCL.

“A Guide to Developing a Campus Crisis Communications Plan.” Risk Research Bulletin,
December 2009.
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Mesearcn Duletn Crisis Communications -- 72-09 sib sshx
This publication highlights the key steps an institution should take in creating an effective crisis
communications plan. For example, it identifies how to set objectives to guide an institution's crisis
response, the types of crisis likely to occur on a campus, and the best communication modes for reaching
key campus constituencies.

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WWW.ue.org

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and related organizations throughout the United States. Qur members range from small private schools to

multicampus public universities.

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stable alternative to the cyclical unavailability and erratic pricing of commercial liability insurance. We understand the
special nature of education and are committed to reducing the overall cost of risk for our policyholders. UE members
benefit from tailored coverages as well as value-added, education-specific services in claims and risk management. United
Educators is Rated A (Excellent) by A.M. Best.

For more information, visit our website at www.ue.org or call us at (301) 907-4908.

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United Educators has a Best's Rating of A (August 2011). For the latest rating, access www.ambest.com.

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Based on in-depth research into our higher education student
sexual assault claims, United Educators (UE) has produced a series
of publications! that highlight important findings from the claims.
Institutions can use these findings to assess how they handle

sexual violence on their own campuses. The findings have included,
for example, allegations made most frequently by victims and
perpetrators, practices that ensure a fair internal process for both
parties, and common mistakes in investigations and adjudications
that anger one party and complicate or make impossible a
resolution. As the law governing student sexual assault evolves, UE's
members should be familiar with the lessons and recommendations
resulting from our claims research.

 

Uae) Review of Student-Victim Sexual Assault Claims With Losses

 

EduRiskSolutions.org

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Case 3:18-cv-00535-JISC- Document 134-5

UE recently released “!

      

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*s.” In this companion
publication, UE reviews claims’ with losses from
student perpetrators of sexual assault over the same time
period, 2011 to 2015. Specifically, this publication
examines claims that:

© Were brought by student perpetrators of sexual
assaule at UE higher education members and reported
to UE from Jan. 1, 2011, through Dec. 31, 2015

@ Resulred in financial loss to the member institution
and/or UE, including payments to claimants, such
as settlements and verdicts, and defense costs

All perpetrators in this claims review were male.
Ninety-six percent of the claims involved alleged
assaults of females by males, and the remaining 4
percent involved male-on-male assault allegations.

 

From 2011 to 2015, victims brought about 25 percent
more claims than did perpetrators, and the average loss
per claim was significantly higher: $346,460 for victims,
compared to $187,461 for perpetrators. Far more than
in the victim claims, however, the losses in perpetrator
claims were driven by defense costs, which accounted
for 71 percent of losses. By contrast, defense costs made
up only 37 pe

onl

ent of losses in victim claims. While

   

y one perpetrator claim had a loss exceeding $1
million, char entire amount was defense costs.

Claim resolutions. The perpetrator claims included
one trial, which resulced in a defense verdict for the
college, but its defense cost more than $500,000. A
pre-trial settlement proved impossible because the
perpetrator demanded multiple millions of dollars. OF

the remaining claims, nearly half (46 percent) were

 

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still open, 27 percent were settled for an average of
$57,635, and another quarter were dropped. In some
dropped claims, the perpetrators did not appeal the
dismissal of their lawsuits, but most simply stopped
pursuing their claims for unknown reasons.

 

 

 

  

Filed 06/03/19-Page 34 of 114

 

 

‘The severity of the sanction drove many of the
perpetrators’ claims. Nearly half were brought by a

perpetrator who was expelled; a third of those claimants
were seniors dismissed from school shortly before

 

graduation. Challenges to suspensions comprised about
a quarter of the claims, with the suspension period
ranging from several weeks to at least two years or as
long as the victim was enrolled at the school. In the
remaining claims, perpetrators challenged the
institutional process even when the sanction imposed
he, such as a no-contact order or a

was relatively lig

disciplinary warning, or the perpetrators were found not

responsible and thus received no sanctions.’ But here,
the accused student was often barred from campus

 

before being found not responsible and alleged the

education interruptions caused harm.

 

Example: An accused student was given.a
second disciplinary hearing after the first had
serious procedural problems. He was found not
responsibie but missed amonth of school had
to drop several classes, and suffered reputational
damage (e.g., a professor publicly characterized
the student as a rapist).

 

 

 

 

Bae Review of Student-Victim Sexual Assault Claims With Losses

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Case 3:18-cv-00535-JSC Document 134-5 Filed 06/03/19 Page 35 of 114

Legal attacks on victims. Sometimes not only
institutions but also sexual assault victims face legal
action by perpetrators. In 15 percent of UE claims,
perpetrators directly attacked victims by adding them
as defendants to lawsuits against schools or suing them
separately.

 

Example: A pemetrator kept threatening to sue
the insthution but did net instead pe fied a
defamation lawsuit against the victim, whose
attorney reported numerous contacts fram the
perpetrator’s lawyer urging the victim to disavow
her internal complaint against his client. Another
perpetrator who sued the victim for defamation
promptly dropped his lawsuit after she withdrew
criminal charges against hin.

 

 

 

Perpetrators seeking exoneration. In about 40
percent of claims, perpetrators exclusively or primarily
sought exoneration. Exoneration for these purposes
includes a degree from the institution (for perpetrators
expelled shortly before graduation) or readmission to
school. However, exoneration most frequently means
expungement of the perpetrators’ disciplinary records.
Common examples of expungement are removing
transcript references to expulsion, suspension, or other
discipline, or changing the reason for a perpetrator’s
withdrawal from school to “voluntary” from, for
example, “withdrew while disciplinary charges were
pending.” Perpetrators typically sought expungement
so they could more easily apply to transfer or to
graduate school, or because they believed it would help
restore their damaged reputations.

In most cases, institutions refused to consider total
record expungement, viewing their disciplinary
process—and the results—as central to their academic
mission, the integrity of which had to be protected.
However, in some claims schools agreed to modify
transcript notations or to adopt a specific scripted
answer for transfer or graduate schools inquiring about
an applicant.

Notably, claims in which perpetrators exclusively

or primarily sought exoneration incurred higher

total losses. The total average loss for this group of
claims was $285,944, compared to the average loss of
$187,461 for all perpetrator claims.

 

Private litigation. In UF’s claims review, private litigation
by perpetrators——defined as lawsuits and demand letters

 

threatening to sue—generated nearly all the losses. In
contrast, with victim claims, close to a quarter (22 percent)
of losses were defense costs incurred in Office for Civil
Rights (OCR) administrative complaints or reviews. The
three claims perpetrators brought most frequently in
lawsuits against institutions were breach of contract, Title
[X violations, and negligence.

Breach of contract was alleged most frequently, in 67
percent of the lawsuits. Perpetrators typically claimed that
the school failed to follow its own student handbook or
other disciplinary procedures for sexual misconduct cases.
Breach of contract claims can be risky for institutions
because internal disciplina ry procedures are rarely

perfect; perpetrators and their counsel will scrutinize the
investigation and hearing records closely. Even if'no major
mistakes were made, they sometimes find enough minor
errors to argue that the whole process was fatally Hawed.
While many of these claims ultimately fail because courts
seldom expect perfect internal processes, they frequently
are drawn out and become costly co defend.

Title IX violations were claimed in 60 percent of the
lawsuits. These claims, however, rarely succeed in court
because they are very difficult to prove. For Title IX
purposes, a male perpetrator must show that he was treated

less favorably in the internal process because of his gender.

Few perpetrators have been able to show this.

 

 

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Perpetrators also brought a variety of other types

Example: in his litle IX claim, a perpetrator of claims against their schools in lawsuits, such as

 

 

 

argued that the school’s focus on prevention and conspiracy, fraud, and estoppel, etc. Of these, two other
training about sexual assault created a “hostile types of claims were relatively common: intentional or
environment for male students. The claim was negligent infliction of emotional distress (27 percent of
dismissed. lawsuits) and defamation (23 percent of lawsuits).
Example? Several male perpetrators Maa aie

unsuccessfully claimed their institutions violated Oe es
Title IX by not allowing them to make ‘cross Jeaand leven ut : boieriy sleaed ica
complaint” allegations of sexual misconduct shboel og) acherdl due nrocece Visiation« by 4 :
against female victims within internal Cee sation in th.
proceedings initiated by the victims. in each rr colon wen
case, the perpetrator could, and sometimes was LLL
invited to, file a separate complaint of sexual ee ; cet oe and cet eepaqchic ce
assault against the victim but failed to.do so. No fat he atti tien <hould have cinok ee ae 3
perpetrator demonstrated or even argued that a pele capone ee ee ues iaarea the ce

female student was allowed to file a similar cross
complaint against a male student and thus was
treated more favorably than men under Title Ix.

 

 

 

ate Se ay 2 TS ewan Gas
2 Cie oueee as aaa as ae ao
Negligence was alleged in 40 percent of suits filed by se es
perpetrators. These perpetrators typically claimed that adv araduated wa a6 acrlised of participating
the institution conducted a negligent investigation or shins dana race inthe demand lott . -
negligently trained officials involved in the disciplinary
“ : . . . . ee ee ee Se :
process, violating its duty of care to the perpetrator.
. . . . Geos Cee even eei cede ea as -o 8.
Negligence allegations are especially risky when 2 : :
gug g | y MSky
soe : oo . . . ee eee es
it is clear that individuals involved in the internal aes ; a :

process made mistakes because they were not properly

 

prepared, such as investigators who did not understand
which findings they needed to make or adjudicators
who did not know which standard of proof to apply.

 

 

 

eee Review of Student-Victim Sexual Assault Claims With Losses

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Case 3:18-cv-00535-JISC--Doecument 134-5

Plaintiffs seeking anonymity. [In 21 percent of claims,
perpetrators attempted to remain anonymous by suing
under a pseudonym (i.e., “John Doe”) or requesting to
do so. Institutions often must decide whether to oppose
this request. This is not always an obvious decision.

For example, sometimes shielding the perpetrator’s
identity can also help protect the victim, In most
claims, however, institutions did oppose these “John
Doe” requests and courts sometimes denied them. One
judge observed that the public had a general interest

in the justice system, the institution was required to
defend itself publicly, and the perpetrator failed to show
extraordinary circumstances justifying why “he alone”
should benefit from anonymity.

Problematic plaintiffs’ counsel. In a third of perpetrator
claims, plaintiffs’ counsel were “frequent fliers” who
repeatedly brought similar claims against the same
institution or others. Institutions usually were more
reluctant to settle with their clients for fear of stoking
additional litigation. Moreover, in 13 percent of claims,
the counsel representing perpetrators were clearly
unfamiliar with the laws governing campus sexual
assault or otherwise out of their depth. In some cases,
the lawyers specialized in completely unrelated areas,
such as real estate or tax law. In others, they were friends
or relatives of the perpetrator. In these situations, the
institutions in-house counsel or defense counsel needed
to spend time and resources educating the perpetrators’
attorneys about the governing law, which complicated
and dragged out resolution of the claims.

 

Examples: A perpetrators attorney, who was
his cousin, asked “who? when the institution
noted that the perpetrator could file a complaint
with the OCR. in multiple claims, attorneys for
accused students demanded tights applicable
under criminal law. One attorney insisted,
despite repeated explanations of the distinctions
between acriminal courtand a schools internal
disciplinary process, that a private college must
allow his cllent Tegal representation” during

the jnternal hearting-——with the lawyer speaking
on the client's benalf-—and should “compel”
witnesses to testify.

 

 

 

 

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OCR Complaints

In victim claims, 22 percent of losses arose from OCR
matters, But in perpetrator claims, only 4 percent of
losses were attributable to administrative complaints
of discrimination filed with OCR. In contrast to its
reaction to victim complaints, OCR appeared to

take little interest in these perpetrator complaints. In
three-quarters of claims involving OCR complaints

by perpetrators, OCR’s data requests to the insticution
were significantly narrower, and consequently less
burdensome to the institutions, than comparable data
requests in typical victims’ OCR complaints. In victim
complaints, OCR usually requested information about
other complaints and applicable policies for a three-
year period, but in most perpetrator complaints, OCR
sought information relating only to the individual
complainant's case.’

 

This section highlights key findings from the claims

of factors that drove or contributed to losses. The
findings, illustrated by claim examples, are followed by
UE’s recommendations for addressing similar issues,
which may help other institutions ensure fair treatment
of both parties and avoid or mitigate losses.

Unclear Policy Language
i

Insuflicient written descriptions of policies and
procedures

 

Example: An institution’s sparse written
description of its internal hearing process failed
to Indicate who was required or permitted to
attend the nearing, how testimony would be
handled and whether orhow the parties would
be none of the outcome. Following a confused
and disjointed hearing that schoolomcials later
accused each other of mishandling, a perpetrator
was found notresponsible. However ne was not
notihed of the outcome and sued after being kept
off campus for aimost-a month.

 

 

 

Recommendation: Victims and perpetrators are equally
entitled to know what to expect during the school’s internal
process. Regardless of the investigation/adjudication model
it uses (¢.g., single investigator, hearing panel), each school
should carefully review the student handbook and all other
relevant policies and procedures for completeness, clarity,
and consistency. In addition to explaining the victim's
options (e.g., formal reporting, confidential disclosure),
they should describe steps the school may take once an
allegation is made or a formal complaint is filed, interim
measures, and detailed information about the disciplinary
process. Schools should work with experienced counsel to
conduct this review of their internal processes.

© Failure to make standard of proof clear

 

Example: An institution's sexual misconduct policy
did not specify which standard of proof would apply
in Internal disciplinary proceedings. A perpetrator
sued afier he was found responsible for sexual
assauitin a final determination thet also foiled to
clarity the standard applied,

 

 

Recommendation: This problem is easily remedied.
Institutions should ensure that all relevant policies and
procedures consistently identify preponderance of the
evidence as the applicable standard of proof’? (Adjudicators
also must be trained to use the correct standard of proof, as
discussed in “Inadequate Training of Hearing Officials.”)

 

 

 

bee Review of Student-Victim Sexual Assault Claims With Losses

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# Poorly vetted external investigators

 

Example: The first dime an institudion used an
external investigator, deficiencies in his work (e.g,
incomplete interviews) heiped generate a claim by.
the perpetrator. The investigator later suggested that
his work might have been more thorough if he had
been pold more.

 

 

Recommendation: Although using an external
investigator is often necessary Or Wise, institutions
should thoroughly vet each investigator's qualifications,
experience, and temperament. Before retaining a new
external investigator, check references from other
institutions. Be cautious about giving a brand-new

 

external investigator a first job on your campus.

# Lack of clarity about the investigator's role

Poor Investigation Practices

 

 

 

 

 

a Investigators with inappropriate tone or clemeanor Exariple: An investigator prematurely released
a report before it was reviewed by the Title Ix
Example: A campus security officer who had coordinator, a usual step in the institutions process.
trouble transitioning from municipal police work The report stated that both parties drank to the point
and was characterized internally as a “loose of “Tncapacitation, both were “equally responsible,”
cannon, implied that the student perpetrator and finding the perpetrator responsible when both
was erry] Sandusky” during an interview, were heavily intoxicated would constitute “gender
establishing a hostile tone and decreasing the discrimination. The hearing panel disregarded parts
chances of the perpetrator’s cooperation. of the report, finding the perpetrator responsible and
suspending him. His attorney sent a demand letter
protesting the “unlalr disciplinary action” on the
Recommendation: When selecting investigators, basis of the disagreement between the investigator
focus more on their temperament and ability to listen and the hearing panel.
without judgment than on professional experience.

 

 

 

Merely having a background in police work does not
qualify someone to conduct campus sexual assault

. So Le toes Recommendation: In training investigators, be very
investigations, unless they have specialized training in © :

, . clear about their role and responsibilities in your process.
interviewing sexual assault victims and perpetrators. “eee : ,
Distinguish between things they are expected to do (e.g.,
assess the credibiliry of parties and witnesses, determine
whether a policy violation occurred, ete.) and things
they should not do (e.g., draw legal conclusions, such as
referring to “gender discrimination,” ot speculate about
future consequences of a possible outcome.)

 

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a Inadequate investigator training

 

Example: A victim claimed asexual encounter
with her boyfriend, just before he admitted to
cheating on her, was sexual assault. Several
internal investigators who interviewed the
parties and multiple wiinesses belleved the
boyfriend's account and concluded the victim
lacked credibility. They made no specific
credibility findings in their report—incorrectly
belleving Ii was not part of thelr job-—-and the
male student was found responsible and sued,

Example: Attorneys for several perpetrators
attacked investigations that, instead of making
specific factual lindings based on the evidence,
referred generally to “the testimony” of parties
and witnesses or ‘the facts” of the case.

 

 

 

Recommendations: Your institution’s procedures
and training should clarify whether investigators are
expected to assess credibility or recommend a finding
on responsibility. Additionally, your institution
should train investigators to explain their findings

in detail and connect them to the evidence. Judges
generally defer to thoughtful and well-supported
internal disciplinary results, even if the court might
have reached a different result. They are far less likely
to show deference if there is no way to tell how the

outcome was reach ed.

H Investigations compromised by external factors

 

Examples: in multiple claims, including several
against institutions where OCR was actively
investigating complaints from student -victinis,
perpetrators alleged the campus atmosphere was
hostile to them and made fair treatment impossible.
in. one matter, a Title LX coordinator interviewed
both parties and determined no formal investigation
was warranted. However, shortly after a group of
female students filed an unrelated [lelxX complaint,
the matter was suddenly reopened with a formal
investigation, and the perpetrator was ultimately.
found responsible.

 

 

 

Recommendation: Usually, both parties to a campus
sexual assault matter are the insticution’s students and are
entitled to the sane procedural protections and general
equitable treatment. Particularly if your institution is
subject to an open OCR investigation or to the influence
of active victims’ advocacy groups, avoid allowing a
“yictim-centric” atmosphere to take hold on campus and
potentially taint an investigation—or at least handing
perpetrators an easy argument that this occurred.

 

 

eee Review of Student-Victim Sexual Assault Claims With Losses

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Problematic Adj udication Practices

© Unclear use of different hearing models

 

Example: An institution's internal process
allowed for a hearing before a panel of multiple
members ord single officer, atthe schools
discretion. The institution was unable to explain
why a particular perpetrator who was found
responsible recelved a panel hearing, when ithad
used a single officer in multiple hearings before
and after his,

 

 

 

Recommendation: If your policy allows the
institution to choose between different hearing models,
carefully evaluate why one model is preferable to
another for any given case and be prepared to explain
any departures from recent practice.

© Poor selection of hearing panelists

 

Example: [he sole investigatorin asexual
assault case was assigned to the hearing panel
inthe same matter, in which his comments
indicated blas in favor of the victim. Although the
finding of responsibility was eventually reversed
on appeal, the perpetrator still brought aciaim
based on interruption to nls education and harm
to Als reputation.

 

 

 

Recommendation: If an institution uses a panel
model, it needs to keep the investigation and
adjudication functions separate. An individual should
not serve on the hearing panel of any matter he or she
investigated.

 

Example: A perpetrator was accused of separate acts
of sexual assault against three female students over a
year. The institution held three separate hearings but
assigned the same panelists in all three, instructing
them thatin each matter they could consider the
facts in the other two matters as background.

After he was found responsible and expelled. the
perpetrator sued.

 

 

 

Recommendation: Regardless of whether this approach is
legally permissible, it creates the appearance of unfairness
to the perpetrator. If alleged assaults are separate events,

it is better to have different panels hear them and handle
separately the question of what, if any, evidence relating

to the other assaults may be admitted in each proceeding.
Such situations are relatively rare but they illustrate why
institutions should have a sufficiently large pool of available
hearing officials.

 

Example: During ligation of the perpetrators claim, &
school discovered thal a panel member who had done
victims advocacy work had-——sbortly before the hearing
atwhich the perpetrator was found responsible-—
reported to the Title (X-coordinator that she herself
experienced an unrelated campus sexual assault.

 

 

Recommendation: Vet potential hearing officials before
assigning them to a specific matter. While a background
in advocacy work is not necessarily disqualifying, a recent
personal history of sexual assault should be. As with the
preceding example, it’s important to ensure that enough
trained panelists are available in case late substitutions are
necessary.

 

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# Inadequate training of hearing officials

 

Example: Panel members did not understand
the standard of proof they should apply. in
several places, the final determination explicitly
referred to “preponderance of the evidence,”
but in others it was clear from the context that
the panel actually applied the higher “clear and
convincing’ standard of proof,

 

 

 

Recommendation: Regardless of the model it uses,
an institution must ensure that responsible officials
understand and apply the preponderance of the
evidence standard. It may be wise for an attorney
experienced in litigating campus sexual assault
matters to help train hearing officials, particularly on
this topic.

 

Example: in several-claims, perpetrators’
attorneys challenged written disciplinary
determinations that provided no rationale for the
outcome and/or the sanctions,

 

 

 

Recommendation: Train all adjudicators to explain
their final written determinations and any sanctions
in detail with specific references to supporting
evidence. Judges are less likely to defer to the

outcome of an internal disciplinary process if the
documentation offers little or no explanation for how
the decision was reached.

 

Example: V/nile litigation initiated by the perpetrator
was pending, a student panel member revealed that
she fod pever pelleved tere was 0 serial assau,
only.a “miscommunication between the parties. She
did not make her opinion clear during deliberations
and simply “went along’ with the majority panel view
that the perpetrator should be found responsible,

 

 

 

Recommendation: Despite OCR disapproval of the
practice, some institutions continue to use students on
hearing panels because they provide a valuable perspective.
If your school is among them, consider providing

additional training to student members that stresses the
importance of making their own independent judgments.

 

 

6282) Review of Student-Victim Sexual Assault Claims With Losses

AR_00000824

 
 

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# Careless sanctioning and appeal practices

 

Example: An institution was unable to conduct
a formal disciplinary process because several
female students refused to file complaints or
cooperate with an investigation ofathietes they
indicated (when the school followed up an widely
circulated rumors) bad engaged in unwanted
group sex with them. A coach lectured the whole
team, some of whose members admitted to the
group sex but alleged it was consensual, about
appropriate behavior. Some members posted
mocking remarks on social media, angering

the aaministration, which insisted What several
athletes involved in the group sex be kicked off
the team. One of the athletes sued.

 

 

 

Recommendation: Institutions need to be extremely
cautious and seek legal advice before imposing
discipline on students who have not been found
responsible for misconduct, including sexual assault.
If the president or another high-ranking administrator
appears inclined to go outside the normal process,
in-house or trusted outside counsel should outline the
risks of doing so.

 

Example: A perpetrator was found responsible
for sexualassault and suspended. He appealed
the sanction, and tne oficial nearing the appeal
considered for the first time the perpetrators
history of unrelated misconduct, although the
schools policy didn't state whether the official
was alowed to consider new evidence on appeal.
The official expelled the perpetrator, who sued.

 

 

 

Recommendation: If an institution allows appeals, the
procedures should spell out the grounds for appeal, the
type of evidence that may be considered, under what
circumstances exceptions may be made, and whether an
appeal official can increase or reduce sanctions. Ensure that
individuals hearing appeals are well trained on all aspects of
the procedures and understand the limits of their authority.

# Reluctance to assist perpetrators found not responsible

 

Example: A perpetrator was barred from campus

for sie weeks during the disciplinary process. He was
found not responsible but brought a claim because
the bon prevented him from finishing the semester.
Despite the outcome, officials of the institution
overtly sympathized with the victim and dragged
their feet on accommodating the student with
extensions or other measures to help him get back on
track academically.

 

 

 

Recommendation: Institutions should respect their own
internal process and act in accordance with the outcome in
each case. In addition, officials should nor allow justifiable
empathy for an alleged victim to overshadow the alleged
perpetrator’s right to fair treatment. If he is found not
responsible, officials should provide accommodations to
help him resume his college career. Depending on the
circumstances, this might include some tuition forgiveness

or help transferring to another school.

 

 

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Wdst 0.Lo-UVv-GOU0SO- JS VOUCUTTICITTIL Lo4-o FPIcu VoOrVvsor ls Faye 44 Ol LL
Perpetrator misunderstanding of Recommendations: As in UE’s publication, “R
consent of Stucent-Vi Cuaitis Wirh

  

students’ poor understanding of consent was a minefield

Deon ye 7 -, o os > : . x
& Perpetrators assumed that consent could not be for perpetrators, victims, and schools. Institutions should

withdrawn focus significant training resources on this issue.

 

© Review your school’s definition of consent in the student
Example: A sexual encounter began as ewrew You - id

consensual, bul when the victim began
protesting and showing signs of discomfort,
the perpetrator ignored her objections and kept

having intercourse with her. © Begin providing student training on consent before
first year begins, either in person during orientation

handbook and other applicable policies for clarity and
consistency, Include short examples of consensual and
nonconsensual situations.

 

 

 

or online. Again, include examples of consensual and

; nonconsensual situations.
& Perpetrators believed that using a written agreement

 

was an effective way to obtain consent # Offer small-group, interactive training workshops

focusing on consent when first-year students arrive.
Example: A perpetrator argued that because-a Consider using UE claims examples or redacted facts
vichim pad signed a written “Contact” purporting from past misconduct matters as case studies.

to grant consent for future sexual activity with
him, she could not claim any sexual encounter
between them was nonconsensual.

Ensure that all education and training for students on
consent addresses the impact of alcohol and other drugs on
individuals’ ability to give consent.

 

 

 

 

# Perpetrators did not understand the effect of alcohol
or drugs on capacity to consent Ty Se

 

Example: A perpetrator admitted giving the

victim, who was already drunk, a’ smallamount™
ol drugs, and continually insisted that she Ne
“seemed to enjoy herself during the encounter.

 

 

 

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as ae [ aes ua
Ua i Gla (Gnade aS ae ca ga
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(2a2) Review of Student-Victim Sexual Assault Claims With Losses

AR_00000826
Title IX, consent, and alcohol. Multiple perpetrators
argued that the “incapacitation negates consent” policies
at their institutions were enforced only against men and
thus violated Title IX. These perpetrators were unable to
prove their Title IX allegations because they could point
to no cases in which men filed sexual assault complaints
against women and were treated differently under the
incapacitation policy. One perpetrator filed a separate
complaint of sexual assault against a female student,
claiming she was the aggressor, he was too drunk to
consent to sex, and the institution’s response violated
Title IX. The institution dismissed his complaint, based
on his own earlier testimony in the female student's
original sexual assault complaint against him, that he

was HOF incapacitated OF TOO drunk to consent. Given

his own admission on the critical issue of incapacitation
and consent, the perpetrator could not show that he was
treated less favorably than women under the policy.

tee §=Review of Student-Perpetrator Sexual Assault Claims With Losses

 

Higher education institutions faced with allegations of
student sexual assault have a duty to be fair and impartial
to both parties, which means assessing all relevant
policies, procedures, and practices and making necessary
improvements. Your institution can use the findings

and recommendations in this publication to help meet
your obligations. This review can also help you respond
effectively if an alleged victim or perpetrator challenges
your actions and can help mitigate any resulting losses.

By Hillary Pettesrew, senior visk management counsel
a “>

Resources

 

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AR_00000827
From 2011 through 2015, United Educators (UE)
received notice of approximately 1,000 higher
education incidents in which a student allegedly was
a victim of campus sexual assault. Although many of
these matters never developed, a minority of claims:
incurred significant losses (settlements, verdicts,
and/or defense costs) averaging nearly $350,000
each, with a few resulting in losses exceeding $1
million. This publication reviews the recurring factors
in those losses, as well as other findings, and UE's
recommendations.

 

Gaee) Review of Student-Victim Sexual Assault Claims With Losses

 

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UE’s two previous studies* of student sexual assault
claims included all claims brought by victims and
perpetrators with or without a monetary loss. ‘This
review, however, examines only claims that:

& Were brought by student victims of sexual assault at
UE higher education members and reported to UE
from Jan. 1, 2011, through Dec. 31, 2015

: Involved nonemployee perpetrators’

i Resulted in a financial loss to the member institution
and/or UE (including payments—verdicts and
settlements—to claimants and defense costs)

 

Losses in UE’s claims occurred in two types of matters:
those involving the Office for Civil Rights (OCR)
because either it undertook a compliance review or
victims threatened or filed complaints with OCR; and
those involving private litigation brought by victims.

OCR Matters

OCR can become involved in a matter through a
compliance review or an administrative complaint
alleging Title TX violations.’ An institution facing

OCR in a student sexual assault matter can anticipate
a time-consuming’ and expensive process, OCR claims
accounted for about 22 percent of losses in UE’s
review. All these losses were defense costs because,
although OCR can initiate administrative enforcement
proceedings against an institution that it determines

is noncompliant with Title EX, unlike a court, OCR
cannot award money damages to individuals.

 

 

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Defending OCR matters can be costly because of

their scope. In compliance reviews, OCR examines an
institution's general response to complain cs of sexual
violence, which requires providing detailed information
about complaints received during the review period, as well
as institutional policies, procedures, and practices. But even
for complaints, OCR typically issues broad data requests
seeking similar information for a multivear period about
other complaints as well as campus policies and training
efforts. In addition, it usually conducts multiday site visits
that include individual interviews and focus groups.

Moreover, OCR may proceed with investigating a Title

IX complaint even if it tacitly acknowledges the claims are
weak. For example, one investigator told an institution
that, although she did not find the victim’s allegations
credible, “management” insisted on a full investigation and
site visit.

Finally, even after OCR completes investigations, institutions
often remain in limbo. Voluntary resolucion agreements
(VRAs), a common method of resolving these matters, have
become increasingly difficult to obtain. OCR regional offices

frequently advise institutions that they need advance approval
from the D.C, headquarters to negotiate VRAs.

 

 

 

 

 

BAe Review of Student-Victim Sexual Assault Claims With Losses

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Litigation

In this review, “litigation” includes any demand for
damages, such as atcorney demand letrers, and lawsuits
threatened or filed on behalf of a student sexual assaule
victim. Demand letters represented the largest share
of losses, approximately 45 percent, while lawsuits
accounted for roughly 32 percent. Demand letters and
lawsuits most frequently asserted two causes of action:
negligence and Title IX violations.

Negligence, which was alleged in 75 percent of the
lawsuits, is relatively straightforward. Juries understand
the central argument that a school breached its legal
duty of care to a student, causing injury. Common
negligence allegations in UL’s claims included

that a school:

© Failed to properly train staff on the institution’s
sexual violence policies and responding to reports of
sexual assault

# Failed to take reasonable steps to protect student safety
@ Permitted negligent security practices, such as failing
to maintain deors, locks, ar alarms in residence halls
in good repair

Lacked an adequate campus security force

Failed to discipline known sexual harassers in
accordance with the student code of conduct

= Knowingly failed to prevent underage drinking

H Admitted perpetrators it knew or had reason to know
had a history of violence or other undesirable behavior,
such as excessive drinking

Title IX. violations, although easily asserted in demand
letters, are difficult to prove in court, explaining in part
why they were included in only 38 percent of the lawsuits.
To win a Title TX claim in court, a plaintiff must show
“deliberate indifference,” meaning that an official with the
authority to address the problem had actual knowledge

of sexual harassment or violence but ignored or refused

to remedy it. Note: ‘This stringent standard applies only

in court cases; it does not bind OCR in addressing
administrative Ticle IX complaints.

Commonly alleged Title IX violations in demand letters
and lawsuits mcluded that an institution:

BE Had a flawed reporting process that discouraged victims
fram reporting assaults
ho
# Failed to properly train officials about their Title
IX obligations

| Knew that sexual assaults occurred but did not
warn students

© Consistently imposed the lightest possible sanctions on
perpetrators found responsible for sexual assault

& Retaliated against sexual assault victims who fled OCR
complaints or spoke to the media

 

 

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Significa nt recurring findings in this review are
followed by UE’s recommendations to help institutions
avoid or address similar problems.

| Failure to ensure Title [X coordinators and
investigators have appropriate training or
experience often led to losses. Every school must
ensure that its Title [X coordinator and investigators
understand their roles and applicable policies
and procedures. Some Title IX coordinators and
investigators are not prepared, potentially exposing
institutions to losses when student victims pursue
legal action based on their mistakes.

 

Example: A newly appointed |e ix coordinator
had attended a single two-day litle IX seminar
and lacked investigation experience. in her

lst case, (ne coordinalor conducted cursory
interviews aflerwoicn (he victim complained
thal she was unable fo fell her full story. Aller

a jengthy delay in resolving (he matter—
otidbulable in pari to the live 1x coordinators
Inexperience-— (he WiC Med on OLR complain.

 

Exomple: A student who Claimed to be among
multiple victors of one perperrator sald the
colleges inexpenenced investigator stated
that pe had mel with te perpetrator woe did
NOL slike finn as someone who would behave
as the victim described. ihe Investigator later
could not clearly recall whether he had made
thal stalement [he victim joined in filing an
OUR complaint.

 

 

eee Review of Student-Victim Sexual Assault Claims With Losses

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Recommendations. Finding skilled, experienced Title
IX coordinators is challenging. Institutions often need
to look for less experienced candidates and train them.
Schools should assess individual candidates
temperament and general capability, such as a
demeanor that is nonjudgmental, and an ability to
calmly and compassionately listen to difficult personal
accounts. It is also critical co provide adequate training.

Start with internal and community training resources.
HR staff with experience in workplace investigations,
for example, could train student affairs employees to
investigate student sexual assaults. Schools should not
allow victims advocates to dominate training, but
they can seek input from free or low-cost resources,
such as a campus women’s center or local rape crisis
center. Local police can be a valuable training resource,
particularly if they have a unit that specializes in sexual
assault cases. Some carpus police at larger institutions
have such units. Also, in-house or outside counsel
often participate in training Title IX coordinators

and investigators; some outside attorneys offer free or
reduced-cost training.

Many paid training options exist, but schools should
consult peer institutions for recommendations. They
also should ensure that the training covers important
elements such as trauma-informed investigation

 
 
 

techniques. Por example, the | na-info
Assaule 7 j Hadi
developed by the National Center f
Safety as directed by the White House task force in

its “Not Alone” report. After significant pilot testing,

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tion and Adi

   

NCCPS began offering the program in 2016.

OCR guidance requires every institution to have a
Title IX coordinator on staff, but it doesn’t require the
same for investigators, For smaller schools, external
investigators can be cost-effective and offer a perception
of greater independence and impartiality. Schools that
use outside attorneys to investigate, as many do, should
avoid firms whose lawyets might later defend the
school in legal action. In all cases, external investigators
must be familiar with the institution's policies

and procedures.

 

 

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i Employee confusion over reporting obligations
contributed to losses. This problem manifested
itself in two ways.

First, employees misunderstood the distinction between

sexual assault reporting channels and confidential

disclosure options. Under OCR’s Title IX guidance
and the amendments to the Clery Act by the Violence

Against Women Reauthorization Act of 2013 (VAWA),

schools must have procedures for officially reporting

sexual assaults so the school can investigate and
separate offices or resources through which victims can
choose to disclose their assaults confidentially, with no
investigation by the school. In some claims, employees
who were not clear about this difference made
ultimately costly errors.

Example: A female student reported asexual

assoull to o college employee who mistakenly

pelleved be wes a confidential resource ang

did nol share wilh ihe [lle IX coordinator any

reports of sexual! assault he received. [he college

first learned of the victim's assault allegation

through the media and a demand letter from

her attorney,

Example: A female student disclosed her sexual
assault to d resident advisor (RA) bul asked

him nol te say anything. Although the school
expected KAS to report such information to

the [Ue lx coordindlorn he complied wilh the
vicuins request. [he insutuiion did notlearn

Oo] fpe student § assault un U) s7e reported ito
onolner official more [han a year jater Despite
her original request io ine RA Ine student
Joined in. ap OCR complaint and sent a demand
letter complaining thal her disclosure lo the RA
consituted polcallon on wich ie school
should have acted.

Second, some employees who received initial student
complaints made serious missteps in responding. All school
employees do not have to understand Title IX intricacies,
but they should recognize the need to involve someone else.

Example: After a male ainiete accused a teammate
of sexual assault, hls atlorneys demand letter
focused nol on [he assault bul on [he colleges
response. A medical exam of the victim snawed
no evidence of a sexud) assault, bul the college
suspended Ihe perpetrator aller ne admitied fo
punching the viclum. [he schol settled with ine
VICI QUICK y Because tne Coach, fo whom ine
vietinn first complained, forced the victin and
perpetrator to meet privately, leading toa second
physical altercation.

Example: A female student claimed a male student
sexually assaulted her during a study abroad trip
afler bol) drank heavily, Her auomeys demand
letter attacked ihe actions of the instiiuuion’s on-

site staff, claiming they failed to contact the home
campus OF an altomey on retainer in the foreign
country, gave ine victim incorrect Information about
her reporting oplions, and discouraged her from
contacting local police.

Recommendations. Institutions must not only maintain
distinct options for reporting and for confidential
disclosure but also must explain them clearly to all
employees whom students are likely to contact. Written
explanations should be provided through the website,
faculty and employee handbooks, and periodic emails to
the campus community. Institutions should also cover this
information verbally in new employee orientation sessions
and in regular department and faculty meetings.

 

bee Review of Student-Victim Sexual Assault Claims With Losses

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In addition, schools must educate all staff regarding
which of them are “responsible employees” under
‘Title IX, and explain this means they are required to
report to the Title IX coordinator any information
they receive about sexual violence against a student.
OCR defines a responsible employee as one who has
the authority to take action to address sexual violence,
who has been assigned the duty to report to the school
sexual or other types of misconduct by students, or
whom a student could reasonably believe has this
authority or duty,

Finally, institutions should make all off-campus trip
leaders and employees at satellite locations aware

of their responsibility to respond appropriately if a
student alleges sexual assault, The specifics depend on
the institution's policies and local laws in study abroad,
but the top priorities include ensuring the victim's
safety and notifying home campus officials.

© Even when perpetrators were found responsible,
victim dissatisfaction with sanctions helped
generate losses. In some claims, victims challenged
the original sanctions against perpetrators, and in
others victims took legal action after the sanctions
were altered,

pwample: A victim whe believed Ihe sanctions
Imposed on her perpetratar—ane-contacd
order and online training—-were toc lenient Hed
an OCR complaint alleging she felt unsafe and
no longer trusted the schools promise of zero
tolerance for sexual assault.

 

Example: A perpetrator found responsiole for
sexual assaull of a female freshman appecled
Als expulsion because general negative character
evidence was improperly admitted during the
hearing. On renearing, ne was again found
respon siple PUL IUs sancuon was reduced 10. a
two-year suspension. [here was no clear policy
basis for (he reduction, and by (ne me of ine
renearing, several other students had accused
ihe same perpetrator of sexual assaull, Ihe angry
victim, who altempled unsuccessfully to gel a
cleat explonation of the reasons forthe reduced
soncion, joined in fling an OCR complaint

 

Recommendations. Institutions cannot guarantee that
victims will be satistied with the sanctions imposed

on perpetrators, but they can reduce the chances of

an unhappy victim suing or going to OCR. First,
schools should ensure the sanctions are consistent with
institutional policy and past practice in similar cases, and
they should be proportionate to the level of misconduct.
Before finalizing sanctions against a student perpetrator,
institutions should consider having an official not involved
in the case or an outside attorney review them to ensure
they meet these standards.

Second, schools must exercise special care before
reconsidering sanctions on appeal. Reducing sanctions
frustrates victims, especially if they are taken by surprise
or feel the institution is hiding something, In general,
sanctions should not be changed on appeal without a clear
basis for doing so. For example, it may be justified if the
written policy allows appeals on the basis of new evidence,
and the perpetrator submits new probative evidence on
appeal, rather than simply making a new argument that
could have been made originally.

 

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@ Victims pursued costly legal action based on
retaliation after they filed complaints. Institutions
need to remain vigilant for and respond quickly to
retaliation reports. In several claims, victims took
legal action focusing not on their assaults but on
their institutions’ failure to respond promptly and
effectively to alleged harassment and retaliation after
they filed internal complaints.

Example: A victim initially did not file a complaint
agains the male student she accused of sexud)
assault and only asked the dean of students to
issue a no-coptact order as an interim measure.
Montns later, she fled a complaint agains the
perpetrator for violating ihe no-contac order by
speaking [o per and [ellinga mon who was with
her to be careful. The victim eventually fled an
OCR complaint alleging that tne school failed to
stop te horossiment sme reponed.

Exaniple: Ap insucuuen lst received police
thal d victim was suffering harassment and
retaliation by the perpetrator s friends through
a leller from her dtlorney demanding that no-
contoel orders be issued School employees bad
nol made clear to the victim now to report such
problems directly.

& Poor student understanding of consent generated

losses. ‘The failure of victims, perpetrators, or both to
understand and apply the critical concept of consent

to sexual activity was a significant problem in UE’s
claims. Misunderstandings about consent were especially
evident in the 22 percent of claims involving parties who
had a romantic relationship or close friendship before
the assault.

Example: in mullipie calms, victims who sald

they didn | want sex bul did nol explicidy refuse
claimed they felt pressured’ by boyfriends or close
male friends into having sex. One victim wanted no
physical contact beyond kissing bul said she finally
gave in To ihe perpetrators repeated requests for sex
so she could go [0 sleen. Her perpetrator expressed
remorse and stated he truly (hough she consented,
bul nen adinitted ne should pave pald anention to
her dnived messages”

Example: A male student later accused of sexual
assault oy o female siudent texdec ner afer tpeir

frst encounter asking i she wanted to Nook up”
again. She replied thal she hadnt wanted to have sex
the first time and he responded in that case it was
‘(her fault for giving in. [he victim, who waffled
about formally reporting, alse displayed confusion
abou! consent and stoled thal she sull wast sure”
whether she had been sexually assaulted.

 

Recommendations. [nsticutions should ensure char all

 

employees involved in handling student sexual assault
complaints understand that retaliation is prohibited,
are familiar with its forms, and know how to respond

effectively. Employees also must be able to explain the

retaliation prohibition clearly to parties and witnesses, Une OF DOU) parties Consumed aicondl in More than lait OF inese

since many people don’t understand that retaliation is FB

forbidden regardless of the cruth of the alleged victim's Te Bae

accusation. It may be helpful to have an attorney ae 0

participate in this employee training. ig drank a6 alcoho nrted Hon ale hu eat ha ak
pe es es ee ence ee zs
Bo ee
(eae ese eet ae an gi
Bane ie Hee BiG) Bee ee va oe ee
PO OGR SG e ie nana eae (a) ae 2
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Gee Review of Student-Victim Sexual Assault Claims With Losses

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Problems understanding or interpreting consent
appeared in some claims with athlete perpetrators,
especially when more than one perpetrator was
involved. Although athlete perpetrators accounted for
only 16 percent of the claims overall, they made up 63
percent of claims with multiple perpetrators.

Example: A male athlete texted about Teaming
up toa teammate he knew was having sex

wih d female student. [ne woman agreed ihe
second athlete could enter the room bul denied
sne consented fo nave sex wilh bim. The second
athlete admitted he never asked for the victims
consen! lo hove sec bul said his tex wos 0
request to his teammate to participate in the
sexual activily.

 

 

Recommendations. Consistent with OCR
expectations for Title IX compliance and the separate
VAWA requirements®, students must be trained on
the meaning of consent under institutional policies
and applicable law. Many institutions find in-person
discussion sessions using hypotheticals, which allow
participants to consider nuanced situations and debate
whether consent exists, to be most effective. Especially
for schools in. states such as California and New York
that impose an “affirmative consent” standard, legal
counsel should ensure all training materials accurately
describe the applicable standard.

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Because many college freshmen have had little if any sex
education, schools should try to begin the process before
they arrive on campus. For example, as a condition of
registration, institutions may require incoming freshmen
to complete a basic online course or participate in summer
orientation sessions about healthy relationships and
consent, This is also a good time to begin discussing the
raie of alcoho! in sexual assault and other risks associated
with excessive drinking.

Once students are on campus, it can be effective to
involve them directly in developing and leading training,
For example, ,

 

Vale, and Colorado ¢

aE
Sa uASe

 

have developed peer training programs, which include
£ £
significant consent components, to combat sexual violence.

In addition, institutions should consider providing targeted

training about consent to certain groups, such as athletes or

Greek organizations. Sexual assault claims against athletes in
particular tend to be high-profile and damaging to a school’s
reputation, regardless of outcome,

 

 

EduRiskSolutions.org

AR_00000836

 
 

 

& Parties’ mental health conditions complicated
resolution of sexual assault claims. Almost one
quarter (21 percent) of the claims involved issues
pertaining to a party's mental health’, defined to
include a personal or family history of suicide
attempts, eating disorders, and trauma from past
sexual assaults. Such conditions can trap schools
grappling with sexual assault allegations in expensive
“no-win” situations.

Evample: A female ludenl, who appeared
disturbed but never claimed a disability

or requested accommodations, alleged

thal muluple male students touched her
inappropriately al different times. After the
victim admilted during the investigalion [nat
500 ee 0 soe pers The scpco!
discplined her for moaning false reports, She filed
an OCR complaint that included allegations of
retaliauion and disability discrimination.

 

Example: lwo femule students claimed sexual
assaults by a male student both had dated. [he

 

perpetrator requested a delay in the scheduled EE ee as ie
spring nearing as an accommodation under pe ee
the Americans with Disabiliues Act (ADA) for Ga a aie
his bipolar disorder [he school agreed to a ee ee
delay the hearing until fail, but the perpetrator Fe ee Gee ae ie ae
vonsteves Meanwhile mevicuosiledan OCR ee ee.
complaint Because Ine perpetrator then relused Ve eae
io participate and both victims had graduated Cee

 

and become uncooperative, the college decided
not to hold o hearing and permanently banned
ie perpetralo! from conipus, Lespile Inese
complications, OCA was dissatshed with the initial
deloy ond eventual suspension of the nearing.

 

 

 

 

 

5682 Review of Student-Victim Sexual Assault Claims With Losses

AR_00000837
 

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Recommendations. If either party in a sexual assault
matter raises a mental healrh issue, an institution should
promptly consult legal counsel to determine whether
disability accommodations may be necessary. In a twist
on. those circumstances, a school also needs immediate
legal advice on how to proceed if it has reason to suspect
that a party may suffer from a mental health condition,
but that individual does not raise che issue.

i Negligent security contributed to large losses.
Compared to some other issues contributing to
losses, such as students’ lack of knowledge about
consent, security concerns may seem relatively
simple to address. However, security missteps
disturbingly factored into several large losses.

 

Example: A person assigned to work athe

front desi of a residence hall foiled to show up
fora shift without noulying anyone. While the
desk was unoccupied, aimale student carried an
unconscious female student Through (he lobby
to his room, where she was sexually assaulted by
poullple permerrators.

 

Exomple: Allhouanh i knew that a residence

ball securily door wos repenlediy propped open
by students, campus securily look no effective
action (6 stop the practice. 1h/s door was also in
very poor condition ond (he alarm thal should
hove sounded frequently malfunctioned, bul
several repair requests were disregarded, On

fwe Occasions, (ne same intrude: entered the
building through this door ne ahempted ta
Sexually assauil one student in her room and
raped a second student in the bathroom, An
investigation revealed additional problems:

No Clery Act timely warming or emergency
pounCation was ssued die ele alack ang
wlle two secunty guards were supposed to work
ihe nigh’ shies only one wos on duly the night of
tne second allack.

 

Recommendations. Although few of UE’s student
sexual assault claims involve such serious security lapses,
institutions should carefully review their security systems
for needed improvement. Conducting an independent
audit of security policies, practices and personnel is wise.
Institutions should consider contacting a local police
department to perform such an audit or recommend
someone who can.

In addition to ensuting that campus security responds
promptly to reported problems, especially in residence
halls, institutions need to educate students on the
importance of following security procedures. UE’s claims
could be used as examples of the potential consequences of
failing to comply.

Finally, institutions should review their policies regarding
timely warnings or emergency notifications under the
Clery Act. Schools must evaluate each sexual assault report
to determine if it meets the requirements for issuing either

 

type of notice—and should document the reasons for the

final decision,

 

 

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o institution can completely insulate itself from legal action by a student who has
No institut pletely late itself from legal action by dent who |
seen victimized by campus sexual violence. Schools can, however, reduce the chances
k d by r i viol School | | he cl

that they will incur significant monetary losses in such cases by reviewing these
findings and recommendations, examining their own policies and practices for similar
problem areas, and taking prompt and effective action to address them.

By Hillary Pettegrew, senior risk management counsel

Resources

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EduRisk'™ Solutions provides education-specific risk management resources to colleges and schools, and is a benefit of membershi

 

 

 

 

 

 

 

 

with United Educators (UE) Insurance. As a member-owned company, UE is committed to helping educational institutions by offering

 

 

 

 

 

stable pricing, targeted insurance coverage, extensive risk management resources, and exceptional claims handling

 

 

 

 

 

 

 

 

 

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ee Review of Student-Victim Sexual Assault Claims With Losses EduRiskSolutions.org

AR_00000839

 

 

 

 

 
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Sage Carson
SS

From: Sage Carson

Sent: Tuesday, August 22, 2017 4:47 PM

To: Jackson, Candice

Subject: Thank You for Meeting with Know Your IX

Dear Assistant Secretary Jackson,

Thank you for meeting with us to discuss our concerns and listen to our perspectives. As you know,
Title IX has been essential to our and other organizations’ work on combating gender violence in
schools.

Since the regulatory process will put everything in the Dear Colleague Letter (DCL) on the table, we
were heartened to hear that the Department of Education is interested in speaking to survivors across
the country who have benefited from Title IX and the DCL. Please let me know how we can be of
assistance in setting up those meetings. We would love to help in selecting locations to host listening
sessions and to connect you to students.

Alyssa and myself were also excited to hear of your interest in the bipartisan Campus Accountability &
Safety Act, as well as your interest in aggregate data and the article from our co-founder Alexandra
Brodsky. As we discussed in our meeting, we wanted to pass along two additional articles. One article
from our co-founder Dana Bolger discusses schools fnancial obligation uncer Tile |x. Another article
by Alyssa Peterson, whom you met during our meeting, offers recommendations on balancing systemic

 

 

 

We were truly appreciative of your apology. Many of the survivors we work with, as well as many on our
team, were assaulted when drunk and constantly face rape myths and denials of their trauma. It was
also extremely important for us to hear you say that Title IX was here to stay, as many survivors are
concerned that their rights are at risk. As such, we feel that it would mean a great deal to survivors and
build confidence in the Department's commitment to ending sexual violence if you would write an op-ed
denouncing rape myths and many of the false ideas that have been spread in the media. With school
starting during the next few weeks for many students across the country, we look forward to seeing a
statement from you and the Department soon.

| welcome another meeting between us, and | hope to further discuss our Policy Playbook that we
shared with you. Please let me know if you would like to meet again. We will also continue to send
information to Chelsea about the survivor groups that would like to schedule listening sessions with your
office.

Thank you,
Sage Carson

Sage Carson
Manager, Know Your IX

AR_00000840
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Menashi, Steven
aaa

From: Menashi, Steven

Sent: Tuesday, August 22, 2017 5:37 PM
To: Jackson, Candice

Subject: Q-A

Attachments: Q-A 8-22-17, dacx

AR_00000841
 

 

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AC WP DPP

 

AR_00000842

 
 

 

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AC WP DPP

 

AR_00000843

 
 

 

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AC WP DPP

 

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AC WP DPP

 

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AC WP DPP

 

AR_00000846

 
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— peste J | Pp | |

 

Sent: Wednesday, August 23, 2017 12:23 AM
To: Jackson, Candice
Subject: Re: Please turn back the DCL

Thanks for reading my email and for the quick reply!

We are all hopeful that you and Secretary DeVos wiil help bring back due process and civil liberties to
college campuses.

Many of us who have been through this with our sons are focused and committed to working on
bringing about change. | just want to help make some good come out of the anguish we went through.

Anybody with sons is only any given Saturday night away from this nightmare themselves!
Please help bring about change by turning back the DCL.

Thanks!

On Tue, Aug 22, 2017 at 6:45 AM Jackson, Candice <Candice Jackson@ed.gov> wrote:
i really appreciate hearing from you. | can only imagine the pain you and your son have been
through. We are working hard to make our Title IX system work for everyone.

All my best,
Candice

Candice Jackson

Office for Civil Rights
U.S. Dept. of Education
Sent from my iPhone

 

On Aug 21, 2017, at 9:43 PM Pp | | gmail.com> wrote:

 

 

 

Dear Assistant Secretary Jackson,

i'm writing to ask you to please work to turn back the massive government overreach
of the 2011 Dear Collegue Letter that came out of the OCR.

it nas had huge negative impact on SO many college boys, including my son.

 

 

 

“as a Teader and major contributor to Pll

 

 

 

 

AR_00000847
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The mental and emotional toll on him and our family cannot be over stated. He
learned early and painfully that life isn't always fair and that truth doesn't always
bring justice.

He was denied due process and civil liberties, as have hundreds of college boys
across the country. | believe it's becoming an epidemic,

Please consider this plea.

i hope to hear back from you.

 

 

Pil

 

 

 

(For my son's privacy and safety, | feel it necessary to use a pseudonym)

AR_00000848
Case 3:18-cv-00535-JSC Document 134-5 Filed 06/03/19 Page 67 of 114

Menashi, Steven
aaa

From: Menashi, Steven
Sent: Tuesday, August 29, 2017 10:11 AM
To: Jackson, Candice
Attachments: DCL 8-28-17.docx

AR_00000849
 

 

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AC WP DPP

 

AR_00000850

 
 

 

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AC WP DPP

 

AR_00000851

 
Case 3:18-cv-00535-JSC Document 134-5 Filed 06/03/19 Page 70 of 114

Jackson, Candice
aaa

From: Jackson, Candice

Sent: Wednesday, August 30, 2017 9:20 AM

To: Sherman, Brandon

Subject: Fwd: DELIBERATIVE/PRE-DECISIONAL: latest draft (clean)
Attachments: Q-A 8-22-17 clean.docx; ATTO0001.htm

Didn't get the attachment on my last email.

Candice Jackson

Office for Civil Rights
U.S. Dept. of Education
Sent from my iPhone

AR_00000852
 

 

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AR_00000853

 
 

 

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AR_00000854

 
 

 

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AR_00000855

 
 

 

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AR_00000856

 
 

 

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AR_00000857

 
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Sherman, Brandon

From: Sherman, Brandon

Sent: Wednesday, August 30, 2017 12:10 PM

To: Jackson, Candice

Subject: Fwd: OCR/ASCA meeting follow-up

Attachments: TIX Examples of Process working well.pdf; ATTOOO01.htm

Sent from my iPhone

Begin forwarded message:

cat be

From: "Jill L. Creighton, ASCA President 2017-2018" <presicent
Date: August 30, 2017 at 12:06:36 PM EDT

To: <brancon.snerman@ed goy>

Cc: "Henderson, Chelsea" <Cheisea. Henderson Ged .gov>

Subject: OCR/ASCA meeting follow-up :

  

 

Dear Brandon,

Thank you for taking the time to meet with me and the ASCA Leadership Team last month. It
was a pleasure to speak with you. | am writing to follow-up on a few items from our discussion.

1. | want to extend a formal invitation for you, Deputy Assistant Secretary Candice
Jackson, and/or Secretary DeVos to attend our Annual Conference as either a featured
speaker or as a general attendee. We will gather February 21-24, 2018 in Jacksonville,
FL. We are aware that travel your budget may be tight, so we are happy to work with
you to provide travel arrangements.

2. In our meeting, | provided you with a hard copy of the ASCA Gold Standard for managing
campus sexual misconduct. The electronic link to the executive summary is nere, and
the full Geld Standard Report is here,

3. Should you be interested in reading more about student conduct best practices froma
practitioner lens, please see cur jarary of Walteceoers on the preponderance of
evidence standard, attorneys in the conduct process, courts vs. campuses, and threat
assessment.

4, | have compiled a few examples of when a Title IX campus process has gone well for all
parties involved, and | have attached those as a PDF to this email. | have a few
examples of when things were challenging as well, and | am happy to share those with
you in a follow-up phone call should you be interested. Most of these cases have to do
with under-trained panelists asking inappropriate questions or not enough resources to
divide the labor of investigating and adjudicating a case.

5. You expressed interest in learning more about the ASCA Sexual Misconduct Institute
Curriculum. Our summer institute concluded in mid-July, but the introduction, learning
objectives, and agenda can be found on the institute’s website
nito://ascatitieb com/institute <info/.

6. Should there be an opportunity for ASCA to contribute to any negotiated rule-making

 

 

 

 

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process, comment on any pending changes in guidance, or continue to discuss student
conduct and Title IX practice, lam hoping continue to dialogue with OCR/DoED in any
capacity that may be helpful.

Warm Regaras,

De KEK oe OE Re Ok De CE Se a Oe KO cae ee OK ee %
bgae ge OO ays pee gone — re # i 8 £
feo That Re Sy py be pes i

She/Her/Hers
Association for Student Conduct Administration (ASCA) | President, 2017-2018

      
  

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be

P from US: (212)-998-4430
P from non-US: (001) or +1 then 212-998-4430

  

= Please consider the environment and print only when necessary

AR_00000859
Case 3:18-cv-00535-JSC Document 134-5 Filed 06/03/19 Page 78 of 114

Example 1: Non-residential 2 year Community College

 

This situation shows how requirements by OCR worked to protect a student and community
from violence. We became aware of a dating violence relationship between two nursing
students. The complainant's friends reported the information to the institution. They reported
the complainant came to class on multiple occasions with bruises on her body. Further, the
complainant reported to her friends that the respondent choked her on one occasion. These
behaviors took place off campus. We met with the complainant who confirmed all the behaviors.
She did not respond in relation to a question about choking. Initially, she did not want to take any
action against the respondent.

We conducted a lethality assessment, which showed she was at an increased risk of fatal harm by
the respondent. Yet, the complainant stated she did not believe the behavior would happen
again. She stated if it did, she would move forward with a complaint. The behavior occurred
again, and she did not want to move forward with a complaint. Because of OCR's guidance that
we are required to address instances of sexual violence that occur off campus when it has a
continuing effect on campus and because we are required to move forward in cases where there
is an increased risk of the alleged perpetrator committing additional acts of sexual violence or
other violence, we informed the complainant we would need to move forward for the sake of her
safety and encouraged her to get a protective order off campus. She did so, and we put a no
contact order in place, interimly suspended the respondent, and continued our process.

Given the nursing program is a cohort model, we wanted to lessen the impact of the suspension
on the respondent's studies because he had not yet had his hearing and he could potentially be
found not responsible. So, we allowed the respondent to take tests in the testing center, receive
materials for class, and allowed him to continue his clinicals because the complainant was not
there and he was not a known risk to other students. The respondent admitted the behavior, and
blamed the behavior on the complainant. The complainant ended the relationship because of the
investigation.

The investigation led to a hearing where the committee of trained individuals looked at both
sides of the story. Although the behavior was severe, the committee looked for a reasonable
response that would allow both students to continue their education. They suspended the student
for 2 semesters, so he would be put in a separate cohort from her. This is an example of the
guidance working well because the college was encouraged by OCR to address this off campus
behavior and address it against the complainant's wishes because of the great effect the behavior
had. This resulted in the college protecting the student and community from further harm
including potential escalation of physical violence.

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Example 2: Public, land-grant 4-year institution

 

A male student was reported for dating violence in reference to an incident occurring off-campus
with his on-again, off-again girlfriend. The male student was intoxicated and was upset about
the female student communicating with another male and not joining him for an event that he
invited her to. Both students agreed to a single administrator hearing, and the male student was
accompanied by an attorney. A restorative justice approach was used in the hearing, and both
students were clearly able to express how they were feeling both during and after the

incident. The respondent was sanctioned to an extensive on-campus substance abuse program, in
addition to other educational sanctions. The complainant was pleased with the outcome and that
the respondent was going to get the help that he needed related to substance abuse. The
respondent even volunteered to come back to speak with new members of the student conduct
hearing board to share what it is like to be a respondent in the student conduct process.

Example 3: Private, large research institution

 

A respondent was reported for two incidents of sexual misconduct by two separate complainants.
The respondent met with investigators over the course of several meetings. Throughout the
investigation, the respondent presented as distraught and concerned about the situations
themselves as well as the outcome of the investigation. The fact pattern demonstrated by a
preponderance of the evidence that the respondent was responsible for violating the student code
of conduct. At the conclusion of the hearing, the respondent, unprovoked, walked over to the
investigator’s office and said, “This isn’t how I wanted things to turn out. But, thank you,
[Investigator’s name], for making me feel heard.”

AR_00000861
 

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From: Pil

 

 

 

 

Sent: Monday, September 04, 2017 9:46 PM
To: DeVos, Betsy; Jackson, Candice
Subject: Praying for you! Repeal DCL11

Betsy and Candice:
Please know that | am pray for you and your department everyday. As you probably already know, my

 

 

 

 

 

 

 

 

familv.and.Ldesnerately hope that you will repeal the Dear Colleague Letter. My son, Pll
Pll ___.i has-been terribly.burt.bv.a false accusation...
rently Pil out will need to transfer to another
school irk PIl We are on a timeline - time is running out. There are not any schools willing to

take him because of the Title |X finding.
He does not have any criminal charges but he is being treated like a criminal.
We hope the removal of the DCL11 will not only vindicate my son but prevent this from happening to

others.
i just read a news report that you may make this change this week. | certainly hope this is true.

We know that God and truth will prevail!
God bless you,

Pil

 

 

 

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Ferguson, Gillum
SS

From: Ferguson, Gillum

Sent: Monday, July 31, 2017 6:49 PM

To: Venable, Joshua; Bailey, Nathan; Jackson, Candice; Hill, Elizabeth; Sherman,
Brandon; Eitel, Robert; Menashi, Steven

Cec: Hahn, Nicholas

Subject: RE: DeVos is right: Sexual assault cases should not ignore due process

Attachments: WTAS - Title IX.docx

Josh,

See attached for the latest WTAS doc. This focuses on positive media reaction, both editorials and opinion
columns. Also working on adding quotes from thought ieacers, academics, activists, etc., but wanted to give
you this in the meantime. If there are any changes you'd like let us know.

Thanks,
Gilum

 

From: Venable, Joshua

Sent: Monday, July 31, 2017 9:06 AM

To: Bailey, Nathan; Jackson, Candice; Hill, Elizabeth; Sherman, Brandon; Eitel, Robert; Menashi, Steven
Ce: Hahn, Nicholas; Ferguson, Gillum

Subject: Re: DeVos is right: Sexual assault cases should not ignore due process

Can we get an updated, comprehensive WTAS package?

 

From: Nathan Bailey <Nathan.Balley@ed.eov >

 

 

Venable Joshua <ioshua. venable@ed gov >
Ce: "Hahn, Nicholas” <Nicholas.Hann@ed.goy >, Gilllum Ferguson <Gllum.fereuson@ed
Subject: Re: DeVos is right: Sexual assault cases should not ignore due process

  
     

This is great. Some others that have popped, ICYMI
httos//www.tcledoblade.com/€ditoriais/2017/07/29/Betsy-DeVos-asserts-rights-of-accused-in-campus-rape-cases. htm)
nito://reason.com/archives/2017/07/29/accused-student-says-he-was-tald-to-stay

hito://www_netionalreview.com/artic|e/449759/hbetsy-devos-campus-sexual-assault-end-kangaroo-courts

 

From: "Jackson, Candice" <Candice Jackson @ed.gov>

Date: Friday, July 28, 2017 at 11:31 AM

AR_00000863
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To: Bailey Nathan <nathan.baley@ec.gov >, "Hill, Elizabeth" <=) Elizabeth, Hil @ecd.eov >, "Sherman, Brandon"
<Srancon Snerman@ec.gov>, "Eltel, Robert" <Robert. cite @ec.cov >, “Menashi, Steven"

<Steven, Menasni@ec. gov >, Joshua Venable <ioshua.venabie @ed. soy >, "Hahn, Nicholas”
<Nicholas.Hahn@ed.gav>

Subject: DeVos is right: Sexual assault cases should not ignore due process

      

 

 

 

   

The supportive op-eds continue to roll out...

 

fanny usatacay.com/story/ooinion/201 7/07 /28/hetsy-cevos-right-sexual-assaull-cases-due-precess-kc Johnson:
stuart-taylor-colurmn/493320001/

 

Candice Jackson

Office for Civil Rights
U.S. Dept. of Education
Sent from my iPhone

AR_00000864
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What They Are Saying — Title IX Sexual Assault Guidance

Last updated: July 31, 2017

 

(b)(S)
Editorials
Sexual Assault Reeducation: Betsy DeVos Strikes Blow for Due Process
New York Daily News — Editorial
July 13, 2017
Stand strong there, Madame Secretary — because it’s about time someone in charge reined in a

 

discipline regime gone destructively off track. ...

Going forward, the Trump administration’s guidance must return professional law enforcement
to its proper place, including open proceedings where clear and convincing evidence is the
standard of proof.

Campus Rape? Call the Police

Chicago Tribune — Editorial

July 16, 2017

Civil authorities, who have no agenda to protect a school or to shortchange an alleged victim or

 

perpetrator, still are best suited to mete out justice. All the more reason for college
administrators to swiftly hand allegations of rape and other sex crimes to the people best
qualified to deal with them — local cops and prosecutors...

One option would be this rewrite of the 2011 letter: ‘Dear Colleague, Someone reports a campus
sexual assault? Call the cops.’

Beisy DeVos’s Due Process

Wall Street Journal — Editorial

July 19, 2017

Sexual assault charges deserve to be investigated, but liberal academia is using Title IX to

 

silence ideological opponents, often complaining that peaceful dissent constitutes actionable
harassment on the basis of gender or sexual orientation. Mrs. DeVos is right to revisit the
Obama-era guidance that has turned the law into an ideological weapon, and part of that is
learning from its victims.

Yes, 1's Time Vo Revisit Qbama’s Tite UX Camous Sexual Assault Guidance
Fort Worth Star-Telegram — Editorial
July 20, 2017

 

 

 

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and Privacy Act

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Anyone who truly cares about civil rights will see that DeVos’ decision to revisit the Title IX
guidelines and to invite the perspectives of all those involved is not only necessary but long
overdue.

Betsy Devos Asserts Rights Of Accused In Canmpus Rape Cases

Toledo Blade — Editorial

July 29, 2017

It is not yet clear what Secretary DeVos’ policy on campus rape will be. But if it treats both
victims and the accused as important, it will be better than the policy she inherited.

Opinion Columns

DeVos's Tithe [IX Summit Buoys Hopeful Stakeholders on Both Sides

Weekly Standard — Alice Lloyd

July 13, 2017

The former president sold the guidance as proof of his progressive credentials. But its
irreversible damage to the rule of law stands testament to a legacy of well-intentioned overreach
doing more harm than good.

‘Trump's Office of Civil Rights Is on the Right Path

National Review — Elliot Kaufman

July 13, 2017

The Trump administration should withdraw the ‘Dear Colleague’ letter.

Trump’s Education Department Takes on the Campus-Rape Lie

National Review — David French

July 17, 2017

Kangaroo courts aren't the answer for crises of character. Betsy DeVos is right to reexamine the
radical policies of the failed recent past.

* oy

Betsy DeVos Isn't "Enabling Rane Deniers” by Pushing for Due Process on Collese

 

Reason — Nick Gillespie

July 18, 2017

As Columbia University settles a case with a student found innocent of sexual assault, the
Secretary of Education is rolling back a bad Obama-era policy.

Will Betsy DeVos fix Obhama’s toxie campus sexual assault policy?
Boston Globe — Dante Ramos
July 19, 2017

 

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and Privacy Act

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For any reforms to stick, campus communities need to understand that revisiting the “Dear
Colleague” letter doesn’t have to be part of some ideological crusade on DeVos’s part, or the
result of a misplaced tolerance for sexual predators. It’s a matter of deciding which rules hest
protect the rights of evervone involved and help an investigation get closest to the truth.

Dear Betsy: End the Katkaesque Kangaroo Courts of Tid IX

National Review — Tiana Lowe

July 24, 2017

The true flaw of Obama’s letter was the fact that it expanded the authority of a broken system —
and limited its capacity to find facts by, for example, discouraging the cross-examination of
accusers — rather than fundamentally repairing it. This has resulted in show trials conducted by
hapless administrators who lack the power to subpoena evidence, operating either parallel to or
in lieu of a criminal investigation.

College Students Faisely Accused Of Sexual Assault Have A Good Couple of Weeks

The Federalist — Ashe Schow

July 26, 2017

[A] group of accused students (including one woman) met with Education Secretary Betsy
DeVos in Washington DC. This would never have happened during the Obama administration,
which supported a culture insisting evervone believe that no one lies about sexual assault (even
if there are not consequences for such a lie). ... A fair process that includes due process does not
impede justice.

Betsy Devos Is Richt: In College Sexual Assault Cases, Due Process Matters

USA Today — KC Johnson and Stuart Taylor

July 28, 2017

The Obama-era Office for Civil Rights lowered standards for convicting college students of
sexual assault. We need to protect all students’ rights.

Accused Student Says He Was Told to "Stay Quiet’ About His Own Lack of Consent
Reason — Samantha Harris

July 29, 2017

Since Betsy DeVos became secretary of education, there have been some signals that OCR might
rethink its aggressive micromanagement of schools’ procedures for handling sexual misconduct.

 

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Karvonides, Mia
aaa

 

 

 

 

From: Karvonides, Mia

Sent: Thursday, August 24, 2017 12:33 PM

To: Jackson, Candice

Cc: Gettler, Rachel; Wheeler, Joseph; Faiella, Matt; Reyes, Alejandro
Subject: Clery Act chart

Attachments: Clery Act chart (draft 8-24-17).docx

Hi Candice,

Best, Mia

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Cynthia P Garrett
SS

From: Cynthia P Garrett

Sent: Tuesday, September 05, 2017 1:23 PM

To: Jackson, Candice

Cc: Henderson, Chelsea; Scott Alison

Subject: FACE; Eliminating the Presumption of Innocence

Attachments: ABA-Due-Process-Task-Force-Recommendations-and-Report.pdf
Candice-

| thought you might find useful my below response to today's Inside Higher Ed article which quotes
Laura Dunn's opinion that there should be no presumption of innocence in campus adjudications.
(httos://www.insidehighered.com/news/2017/09/05/new-report-ranks-colleges-due-process-

protections)

Since the ABA Task Force meetings | have spent quite a bit of time considering the victim advocate
perspective on this issue, which includes the belief that finding the accused not responsible is
effectively a finding that the accuser is lying. In practice this together with the absence of a
presumption of innocence eliminate the possibility of a middle ground - the decision makers must
choose one side or the other.

As | explain below, tying the hands of administrators by requiring them to choose one party over
another inevitably forces them to make decisions in which they do not believe. Absolutely crazy when
you think about the ramifications of eliminating the presumption and structuring the process as a
contest where one party must win and the other lose.

Also note how close FIRE's recommendations (referenced in the article) are to those proposed by the
ABA Task Force.

And a question: have you found any solutions for addressing the sticky issue of active or closed
campus disciplinary cases?

Cindy

Cynthia P Garrett, Co President

Families Advocating for Campus Equality
www.facecampusequality.or
facecampusequality@gmail.com
@FaceCampusEqual

 

 

Begin forwarded message:

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From: Cynthia P Garrett < Pll emeail.com>

Subject: Families Advocating for Campus Equality; Fairness Questioned
Date: September 5, 2017 at 8:47:23 AM MST

To: Bauer-Wolf Jeremy <jeremy @insidehighered.com>

 

 

Jeremy-
Nice job on today’s article. | wanted to mention a couple of things about the issues raised.

First, the idea that there should be no presumption of innocence. That was something
raised during our ABA Criminal Justice Section Task Force discussions earlier this year.
There | learned from victim advocates that whenever an accused student is found not
responsible, victim advocates interpret that as essentially calling the accuser a liar. They
believe the presumption effectively stacks the deck against the accuser and that there is
no middle ground - either it's X or Y. We would call that a zero-sum game.

That perspective is a, if not the primary reason campus administrators make mistakes -- on
both sides. | know it's been said many times before, but is worth repeating here: he
said/she said disputes are the most difficult cases even for highly experienced criminal
investigators and judges. Let that sink in. These experts spend their lives encountering
such issues and they find such cases are nearly impossible to unravel. Yet we expect
campus administrators to achieve what experts with years of experience cannot do --
choose on party over the other.

Practically, when the message to the decision makers is “you do not have the option to say
| do not know; you must choose one party over the other" of course they are going to guess
or flip a coin. They have no choice. No wonder then that campus administrators made
mistakes; they are being forced to issue decisions in which they cannot honestly say they
believe.

FIRE'’s recommendations are very close to those issued by the ABA last June (attached
below), and if you read our explanation of the standard of evidence -- which by the way is
given no name due to misconceptions about the preponderance standard -- we included a
requirement that decision makers actually be convinced, or believe the incident did or did
not occur, in order to issue a decision one way or another.

The ABA recommendation on the standard of evidence for cases in which there is an
adjudicatory hearing reads:

The decision-makers should first evaluate the quality of the evidence. The decision-
makers should consider all of the evidence regardless of who provided it. Any
evidence the decision-makers find to be of high quality should be given more weight
than any evidence the decision-makers find to be of low quality. Quality may, or may
not be identical with quantity, and sheer quantity alone should not be the basis for a
finding of responsibility. The testimony of a single party or witness may be sufficient
to establish a fact.

After assessing the quality of the evidence, the decision-makers should only find the
respondent responsible for alleged misconduct if the evidence unanimously

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convinces them to reasonably conclude that a finding of responsibility is justified.
That is, the decision-makers should find that there is sufficient evidence that is
relevant, probable, and persuasive to convince them that the respondent engaged in
the alleged misconduct, and that the evidence supporting a finding of responsibility
outweighs any evidence that the respondent is not responsible for the alleged
misconduct.

We have advised Candice Jackson that there needs to be a "no finding" option and a tie
must go to the accused student. Those who advocate for the zero-sum option are doing a
disservice to both the accuser and the accused because curtailing the ability of decision
makers to make a decision in which they actually believe is no different than a coin toss.

Thanks,
Cynthia

Cynthia P Garrett, Co President

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@FaceCampusEqual

 

 

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Tune 2017

ABA CRIMINAL JUSTICE SECTION TASK FORCE ON COLLEGE DUE PROCESS RIGHTS AND
VICTIM PROTECTIONS: RECOMMENDATIONS FOR COLLEGES AND UNIVERSITIES IN
RESOLVING ALLEGATIONS OF CAMPUS SEXUAL MISCONDUCT

The Executive Committee of the ABA Criminal Justice Section commissioned the Task Force on
College Due Process Rights and Victim Protections in November 2016. Immediately after,
extensive efforts were made to find members that represented all interested parties: victims, the
accused, universities, other stakeholders, and national experts. The Task Force was fully
constituted in the winter of 2017, and it ended up including two voting members who were
originally liaisons from the ABA Commission on Domestic and Sexual Violence and the ABA
Section of Civil Rights and Social Justice. This elevation was made in recognition of their
significant contributions.

Although the Task Force worked expeditiously, it did so because members were eager to try to
have a positive impact on this critical area of public policy. The Task Force believed it likely that
the new administration would release new directives to replace the 2011 Dear Colleague Letter,
issued by the U.S. Department of Education Office for Civil Rights. In the greatest of traditions
of the ABA and the Criminal Justice Section, members wanted to contribute to the public
discussion.

The Task Force drafted these Recommendations to provide guidelines to colleges and
universities in resolving allegations of campus sexual misconduct. They are aspirational and
reflect the Task Force’s collective judgment for a fair process. These Recommendations do not
represent the views of one person or even a group of people but the views of the collective whole
for which there was complete consensus among all Task Force members. The recommendations
were necessarily the product of extensive discussions and compromise. Various stakeholders
agreed to bend on certain provisions in order to obtain other provisions of import to them and in
order to reach unanimity. These Recommendations are not exhaustive. The Task Force
recognizes that it did not discuss every relevant issue, but it aimed to address the more salient
ones. Nor are the Recommendations intended to be mandated detailed scripts or to limit the
discretion of schools to adopt different procedures. Instead they are intended to provide schools
with useful guidelines. In addition, not all of these recommendations are consistent with the 2011
Dear Colleague Letter. On May 6, the ABA Criminal Justice Section Council voted unanimously
to endorse these Recommendations for publication.'

Throughout these Recommendations, the Task Force uses the word “should” which recognizes
the diversity among schools and the lack of authority in requiring schools to have certain
provisions. Where the law requires a school to have a certain provision mandatory language is
used.

 

' Although these Recommendations were unanimously endorsed for publication by the Criminal Justice Section
Council, they have not been endorsed by any other section of the ABA, including the ABA Commission on Domestic and
Sexual Violence and the ABA Section of Civil Rights and Social Justice.

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Complainant refers to the alleged victim, although the Task Force acknowledges that sometimes
they may not be the same person. Respondent refers to the alleged perpetrator. The Task Force
also refers to complainant and respondent in the singular even though there may be more than
one. The decision-maker refers to the person(s) who determine whether a violation occurred.

L SCHOOL’S RIGHT AND RESPONSIBILITY TO ADDRESS CAMPUS SEXUAL MISCONDUCT

Title [X prohibits sex discrimination in educational programs or activities that receive federal
financial assistance. Sex discrimination includes sexual harassment and sexual misconduct. The
Department of Education and federal courts have interpreted this federal law to require schools
to respond to allegations of student sexual misconduct in a timely and effective manner.

A. Cooperation with, and Independence from, Law Enforcement

The Task Force recognizes the school’s responsibility to address sexual misconduct on its
campus for protection of its community. Schools should be able to determine whether a violation
of school policy has occurred regardless of whether there has been a violation of criminal law.
Where police investigation has been initiated, schools should work cooperatively with law
enforcement to the extent permissible by state and federal law.

B. Investigate Both Sides

The school’s investigator must conduct a prompt, fair, and impartial investigation. The
investigation should be thorough, and both parties should have the right to participate by
identifying witnesses and identifying and/or providing relevant information to the investigator.
Investigators should equally seek out both inculpatory and exculpatory evidence.

Cc. Confidentiality

Schools should put in place provisions to guard against the improper disclosure of confidential
information created or gathered during an investigation. Parties, witnesses, investigators,
decision-makers, and advisors should abide by these provisions. Schools should notify parties
about the scope and limits of the school’s ability to maintain confidentiality. For example, a
school may have to provide documents in compliance with a court subpoena.

D. Retaliation

Schools should put in place provisions to protect all parties from retaliation. Such provisions
should be published to the campus community and available for review at all times. Such
policies should also be communicated to all participants, including witnesses, throughout the
investigative and adjudicatory process. Such policies should also clearly communicate the
means through which any individual can securely report perceived retaliation.

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il. RESOLVING ALLEGATIONS OF SEXUAL MISCONDUCT
Schools have several options for resolving allegations of sexual misconduct.

A. Alternatives to Traditional Adjudication

 

Where appropriate, the Task Force encourages schools to consider non-mediation alternatives to
resolving complaints that are research or evidence-based, such as Restorative Justice processes.
Both parties must freely and voluntarily agree to such processes in order for them to be utilized,
and they may withdraw their consent to the process at any time, stopping its use.

B. Adjudicatory versus Investigatory Model

 

Both the adjudicatory and the investigatory model begin with an investigation, but they differ in
the process for determining whether a violation of school policy occurred. The adjudicatory
model has a hearing in which both parties are entitled to be present, evidence is presented, and
the decision-maker(s) determine(s) whether a violation of school policy has occurred. This does
not require the parties to be present in the same room. For instance, the parties could be in two
separate rooms but able to see and hear each other via video-conferencing. The Task Force
emphasizes that the decision-maker(s) should be able to see and hear the parties in order to
assess their credibility, and at a minimum, the parties should be able to hear one another.

In the investigatory model, by contrast, the decision-maker(s) consider(s) only the investigation
report in determining whether a violation occurred. Sometimes the investigator is also the
decision-maker (the single investigator model), and sometimes the decision-maker is different
from the investigator. Although the decision-maker(s) may sometimes request to hear from a
witness, the parties are not entitled to be present for that testimony in the investigatory model.

In considering the differences between the adjudicatory and investigatory model, the Task Force
has a preference for the adjudicatory model because it can offset any potential for investigator
bias, and it allows the decision-maker(s) to hear live testimony from the parties. It was the
consensus of the Task Force that the single investigator model, which consists of having an
investigator also serve as the decision-maker, carries inherent structural fairness risks especially
as it relates to cases in which suspension or expulsion is a possibility. Should a school choose to
use the investigatory model, the Task Force recommends that the investigator and the decision-
maker be different persons and adopt additional procedural protections consist with these
recommendations.

The Task Force acknowledges that some schools use a hybrid model, which contains elements of
both the investigatory and adyudicatory model. For classification purposes, the Task Force
considers a model adjudicatory only if the parties have the right to a hearing in which evidence is
presented, the parties are present, and a decision-maker who is not also the investigator
determines whether a violation occurred. As described in Section IV below — if there are at least

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three decision-makers and they are making their decision unanimously - it is appropriate to use
the lower standard of proof as defined in Section IV-D.

Ii. PROCEDURAL PROTECTIONS
The Task Force believes that both parties should have robust procedural protections.
A. Counsel/Advocate

The Violence Against Women Authorization Act of 2013 requires that in cases of sexual assault,
both parties have the right to an advisor of their choosing, who may be an attorney or third party
advocate. All advisors, including attorney advisors, must adhere to all conditions and obligations
required by the school’s process. The school should provide the advisor with the same access to
information available to the party. Minimally, the advisor should have the right to communicate
with the party in oral or written form during all meetings and proceedings. Should a party prefer,
the school should provide the party with an advisor who has been trained in the school’s sexual
misconduct policies and can assist the party. The school should have more than one advisor to
give the party choice, but is not required to provide an attorney advisor. Where a student is
working with an advisor and that advisor has an obligation to report to the university, the student
should be made aware of the potential conflict of interest.

B. Notice

Both parties should be provided with written notice as contemporaneously as is practical that a
school or its designated investigator will commence a formal investigation. This notice should
include the date of the alleged incident if known, a summary of the alleged facts, a summary of
the specific policy violation(s) under investigation by the school, and instructions on how to
access the relevant policy and adjudicatory process. It should also include information about
their right to an advisor, described above. This notice should be provided before the investigation
begins. If the initial complaint is made to the school investigator then notice should be provided
before the responding party’s interview with the investigator, regardless of whether the
responding party decides to make a statement.

Cc, Discovery

The school should prepare an initial comprehensive investigation report and should notify both
parties contemporaneously of the availability of the report. This report should include
information such as party statements, witness statements, and any inculpatory or exculpatory
information collected during the investigation. Schools should disclose a list of information
obtained during the course of the investigation even if it was not considered relevant evidence
for the decision-maker(s). Both parties should have a reasonable opportunity to review the report
with their advisor, if they choose to have one, and to request information be included or removed
by the school from the final report. The school should designate a person other than the
investigator or the decision-maker(s) to determine which information is included in the final

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report, taking into consideration the issues raised by each party and school policy. The student’s
advisor, if there is one, should have the right to participate fully in this pre-hearing stage of the
process. Once the final investigation report is prepared, both parties and their advisors, if they
have them, should have reasonable access to it and should have the right to provide a reasonable
written response, which will be provided along with the final investigation report to the decision-
maker(s) for consideration of whether a policy violation has occurred. This reasonable written
response should not reference any evidence that has been formally excluded from the final
investigation report, however either party may always appeal the improper exclusion of evidence
from the final investigation report.

D. Impartial Decision-maker

As a matter of fundamental fairness, schools and their designated personnel must be fair,
impartial, and free of conflicts of interest. Both the investigator and the decision-maker(s) should
receive fair and balanced training on how to objectively investigate and adjudicate these matters.
Parties should be advised of the identity of the designated personnel in advance of decision-
making so that they have sufficient time to raise concerns so as to avoid unnecessary delay and
error.

E. Silence

In the interest of fundamental fairness, and recognizing the prospects of parallel or follow-on
criminal proceedings, the respondent’s silence should not be the basis of a finding of
responsibility. The Task Force emphasizes that as long as it comports with the standards
articulated in Section I[I-C and Section [TV-D below, the complainant’s statement may serve as
the sole basis for a finding of responsibility.

F, Appeal

The Task Foree recommends that both parties have a right to appeal. The grounds for appeal
should be limited to (1) new information not known or available at the time of the hearing; (2)
procedural error that materially affected the findings of fact (this includes improperly excluding
or including evidence); (3) the imposition of a sanction disproportionate to the findings in the
case (that is, too lenient or too severe); or (4) the conduct as found by the decision-maker does
not violate school policy (this is not intended to allow an appeal for new fact-finding). A
successful appeal on the first two grounds should generally result in a remand for a new hearing
to determine whether a violation occurred. If the appellate officer finds the fourth ground to be
true then the finding of responsibility should simply be reversed. Recognizing the benefits of
finality, the Task Force favors a single level of direct/formal appeal.

IV. THE HEARING

The Task Force recommends an adjudicatory hearing to determine whether the respondent
committed sexual misconduct.

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A. Standards for Evidence at Hearing

In general, evidence may be presented during a hearing if it is relevant, not unduly repetitious,
and the sort of information a reasonable person would find reliable. Evidence is relevant if (1) it
bears on a fact of consequence in the case, or (2) it reflects on the credibility of a testifying party
or witness in a material way. Evidence may be excluded if it is unfairly prejudicial or if it is
needlessly duplicative. Character and reputation evidence regarding the parties (both positive and
negative) should be excluded from the decision-making stage. Evidence of the past sexual
history of the parties should be disfavored and admitted only when it provides compelling
evidence on a disputed issue of relevance to the misconduct charge or its defense.

It is appropriate for some witness statements to be presented in written form, such as a statement
signed by the witness or as recorded by the investigator. The decision-maker should exercise
caution at considering second hand statements as true. (“John told me that he saw...”) It is rare if
ever appropriate to consider as true a third hand statement or something more removed. (“John
told me that Zelda told him that she saw...”).

If a witness statement is important for establishing whether the alleged misconduct occurred then
whenever possible, that witness should appear in person. Live testimony will allow the decision-
maker to better assess witness credibility and determine whether a violation occurred. Members
of the college community (other than the parties themselves as explained in Section C below)
have an obligation to provide relevant evidence if called upon to do so.

B. Recording Proceedings

The hearing should be recorded or transcribed. Reasonable care should be taken to create a
quality recording and minimize technical problems.

Cc. Participation in the Proceedings

Neither the complainant nor the respondent should be required to participate in the proceedings.
However, the decision-maker(s) should not consider either party’s personal account of what
happened unless that party is available for questioning by the decision-maker(s) and the other
party. A party who chooses to remain silent may still present evidence (other than a personal
statement) or question the evidence that is presented by the school or the other party. The
decision-maker(s) may always consider a party’s evidence and questioning of the evidence as
well as a party’s general denial of the allegations.

D. Asking Questions

The complainant and respondent may not question one another or other witnesses directly, but
should be given an ongoing opportunity during the proceeding to offer questions to be asked
through the decision-maker(s), who will determine whether to ask them. The investigator should
be available for questioning by the decision-maker(s) and the parties.

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Vv. DETERMINING WHETHER A VIOLATION OCCURRED

Regardless of the method a school uses to determine whether a violation occurred, the Task
Force urges that the following protections be put in place.

A. Composition of Panel

Recognizing that there are different models that could provide for a fair and equitable resolution,
the Task Force favors having at least three people separate from the investigator decide whether
a violation occurred. The Task Force recognizes that there are inherent benefits to having a
diverse panel when deciding responsibility or sanctions. A panel can be diverse across a number
of dimensions including gender, race, age, sexual orientation, and position within the university.
The inclusion of students can also provide an important perspective.

B. Necessary Vote for Finding of Responsibility

Schools should require a unanimous vote among decision-makers for a finding of school policy
violation and a finding of responsibility.

On Insufficient Evidence and Outcome

 

If there is insufficient credible, reliable, and relevant evidence for the decision-maker(s) to find
that a violation occurred then the student must be found not responsible.

D. Standard of Proof

The Task Force spent considerable time discussing the standard of proof to be used by decision-
maker(s) in determining whether a violation has occurred. Some Task Force members thought it
was unfair to have a lower standard of proof when respondents were facing suspension and
possible expulsion, coupled with the potential collateral consequences that accompany a finding
of responsibility. Other Task Force members considered it unjust to have an elevated standard of
proof given the historical challenges complainants often faced in getting schools to respond
adequately to allegations of sexual misconduct. For purposes of the school disciplinary system,
everyone was in agreement that the standard should not be beyond a reasonable doubt.
Additionally, the preconceived notions attached to the commonly used standards of proof
troubled some Task Force members. Specifically, some Task Force members did not agree with
the common interpretation of “preponderance of the evidence” as requiring a mechanical
weighing of the evidence in which a mere feather is enough to tip the scales towards a finding of
responsibility. At the same time, other Task Force members felt “clear and convincing evidence”
is a vague standard and thus easily subject to potential abuse. In light of these concerns, the Task
Force believes that it is best to avoid labels and instead articulate the appropriate basis for a
finding of responsibility, with corresponding instructions (preferably in written form) provided to
the decision-maker to ensure a clear understanding of the manner in which they should consider,

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review, and weigh the evidence. The Task Force’s recommendation is the product of
compromise.

The Task Force believes that the following standard of proof is only appropriate under an
adjudicatory model with at least a three-person panel of decision-makers, using a unanimity
requirement, and with the procedural protections set forth in these recommendations. The Task
Force recommends that this standard be provided in written form to the decision-makers and the
parties and advisors, if there are any, before deliberations begin:

The decision-makers should first evaluate the quality of the evidence. The decision-makers
should consider all of the evidence regardless of who provided it. Any evidence the
decision-makers find to be of high quality should be given more weight than any evidence
the decision-makers find to be of low quality. Quality may, or may not be identical with
quantity, and sheer quantity alone should not be the basis for a finding of responsibility.
The testimony of a single party or witness may be sufficient to establish a fact.

After assessing the quality of the evidence, the decision-makers should only find the
respondent responsible for alleged misconduct if the evidence unanimously convinces them
to reasonably conclude that a finding of responsibility is justified. That is, the decision-
makers should find that there is sufficient evidence that is relevant, probable, and
persuasive to convince them that the respondent engaged in the alleged misconduct, and
that the evidence supporting a finding of responsibility outweighs any evidence that the
respondent is not responsible for the alleged misconduct.

In a model where there is only one decision-maker, the Task Force believes that there should be
a higher standard of proof. (The Task Force acknowledges that this recommendation is not in
line with the 2011 Dear Colleague Letter). The Task Force recommends that this higher standard
of proof be provided in written form to the decision-maker before deliberations begin.

The decision-maker should first evaluate the quality of the evidence. The decision-maker
Should consider all of the evidence regardless of who provided it. Any evidence the
decision-maker finds to be of high quality should be given more weight than any evidence
the decision-maker finds to be of low quality. Quality may, or may not be identical with
quantity, and sheer quantity alone should not be the basis for a finding of responsibility.
The testimony of a single party or witness may be sufficient to establish a fact.

After assessing the quality of the evidence, the decision-maker should only find the
respondent responsible for alleged misconduct if the evidence firmly convinces the
decision-maker to reasonably conclude that a finding of responsibility is justified. That is,
the decision-maker should find that there is sufficient evidence that is relevant, probable,
and persuasive to firmly convince him or her that the respondent engaged in the alleged
misconduct, and that the evidence supporting a finding of responsibility significantly
outweighs any evidence that the respondent is not responsible for the alleged misconduct.

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E. Sanction

In the event of a finding of responsibility, the consensus of the Task Force is that a particular
sanction should not be presumed or required. Instead, the Task Force proposes that sanctioning
should be decided on an individualized basis taking into account the facts and circumstances
including mitigating factors about the respondent, the respondent’s prior disciplinary history, the
nature and seriousness of the offense, and the effect on the victim and/or complainant as well as
the university community. The Task Force believes that a presumption of expulsion may have
unintended consequences such as discouraging reporting and a finding of responsibility.

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Tune 2017

REPORT
ABA CRIMINAL JUSTICE SECTION
TASK FORCE ON COLLEGE DUE PROCESS RIGHTS AND VICTIM PROTECTIONS

The 2015 AAU Campus Climate Survey found | in 4 women surveyed from 27 Institutes
of Higher Education (IHEs) had been raped or sexually assaulted while in college. ' Although the
authors cautioned that the results were not nationally representative, * they were consistent with a
2007 National Institute of Justice funded study that found | in 5 women at two large public
universities had been similarly victimized.” In 2011, the Department of Education Office for
Civil Rights (OCR) issued its Dear Colleague Letter (DCL), in which it called the statistics on
sexual violence “deeply troubling and a call to action for the nation.”* OCR was responding to a
culture in which some schools weren't taking victims seriously and sometimes even dissuading
them from pursuing charges.° After reminding universities that sexual violence constitutes a
form of discrimination under Title [X,° OCR told universities that in order to be in compliance
with Title Ix, they had to change disciplinary proceedings to more effectively hold offenders
accountable. ’

Some applaud OCR’s efforts*-including at least ninety professors who signed a White

 

See DAVID CANTOR ET AL., REPORT ON THE AAU CAMPUS CLIMATE SURVEY ON SEXUAL ASSAULT AND
SEXUAL MISCONDUCT, 23-26 (2015),
hitps://www.aau.edu/uploadedFiles/AAU_Publications/AAU_Reports/Sexual_ Assault_Campus_ Survey/AAU_Cam
pus_Climate Survey_12_14_I[5.pdf.

° Id. at xv.
3 See CHRISTOPHER P. KREBS ET AL, THE CAMPUS SEXUAL ASSAULT StTuDY vi (2007),
bitos//yeww nicirs.zov/pdtiies | /nu/erants/221) 53 ndf A 2016 Bureau of Justice Statistics Campus Climate Survey

 

studied the frequency of unwanted sexual contact in the 2014-2015 academic year among undergraduates at nine
institutions of higher education (HEs). See CHRISTOPHER KREBS ET AL., BUREAU OF JUSTICE STATISTICS RESEARCH
AND DEVELOPMENT SERIES, CAMPUS CLIMATE SURVEY VALIDATION STUDY FINAL TECHNICAL REPORT (2016),
blips Awww. bis. wov/conient/pub/ndi/cesysiypa’. Krebs et al. found that the prevalence rate for completed sexual
assault among undergraduate females averaged 10.3% across the nine [HEs, with a range of 4.2%-20%. Sexual
assault included completed sexual battery (prevalence rate averaged 5.6% across the nine THEs) and completed rape
(prevalence rate averaged 4.1% across the ninc THE’s). 2016 CAMPUS CLIMATE SURVEY at 69. Researchers also
estimated the prevalence rate for completed sexual assault since entering undergraduate school and across lifetime,
but they urged caution in interpreting these results. fd. at 73.

* Letter from Russlynn Ali, Assistant Sec’y for Civil Rights, U.S. Dep’t of Educ., Office for Civil Rights, to
Colleague 2 (Apr. 4, 2011) [hereinafter Dear Colleague Letter],
http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf.

> See Kristen Lombardi, A Lack of Consequences for Sexual Assault, CTR. FOR PUB. INTEGRITY (Feb. 24,
2010, [2:00 PM),  http://*www.publicintegrity.org/2010/02/24/43 60/lack-consequences-sexual-assault; Kayla
Webley, Big Shame on Campus, MARIE CLAIRE (Oct. 16, 2013),  http:/Avww.marieclaire.com/politics/
news/a8217/big-shame-on-campus/; Vanessa Grigoriadis, Meet the College Women Who Are Starting a Revolution
Against Campus Sexual Assault, N.Y. MAG.: THE Cut (Sept. 21, 2014), http://nymag.com/thecut/2014/09/emma-
sulkowicz-campus-sexual-assault-activism. html.

° Dear Colleague Letter, supra note 4 at 1.

"Id. at 1-3, 7-14.

® See Lavinia M. Weizel, Note, The Process That is Due: Preponderance of the Evidence as the Standard of
Proof for University Adjudications of Student-on-Student Sexual Assault Complaints, 53 B.C. L. Rev. 1613, 1642~
$5 (2012); Amy Chmiclewski, Note, Defendig the Preponderance of the Evidence Standard in College
Adyudications of Sexual Assault, BYU Epuc. & LI. 143, 149-56 (2013)

 

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Paper in support of the DCL”-for raising the profile of the harm often suffered by victims of
sexual assault and forcing schools to confront the issue on campuses. Others contend that OCR’s
enforcement approach was too heavy-handed and that, in an effort to appease OCR, universities
have not provided sufficient procedural protections to the accused.'? For example, members of
the law faculty at both Harvard and the University of Pennsylvania have publicly called for
greater procedural rights for accused students.'' The popular press has also started to shine a
spotlight on the experiences of men who say their universities never gave them a meaningful
chance to defend themselves before finding them responsible for sexual misconduct and
expelling them.'* Even OCR and the Department of Justice have on occasion found that a school
did not provide sufficient procedural protection to an accused student."

Historically, courts for the most part have sided with schools. Writing for the majority in

 

” Katherine K. Baker, Deborah L. Blake & Nancy Chi Cantalupo, et al., Title IX and the Preponderance of the

Evidence: A White Paper, FEMINIST LAW PROFESSORS (Aug. 4, 2016), http:/*www-.feministlawprofessors.com/wp-
content/uploads/2016/08/Title-[X-Preponderance- White-Paper-signed-10.3.16.pdf

'° See William A. Jacobson, Accused on Campus: Charges Dropped, But the Infamy Remains, LEGAL
INSURRECTION (May 16, 2015, 8:30 PM), hittp:/legalinsurrection.com/2015/05/accused-on-campus-charges-
dropped-but-the-infamy-remains/; see also Naomi R. Shatz, Feminists, We Are Not Winning the War on Campus
Sexual Assault, HUFFINGTON Post (Oct. 29, 2014, 6:44 PM), hitp://www.huffingtonpost.com/naomi-
shatz/feminists-~-we-are-not-winn_b 6071500.html. See generally Stephen Henrick, A Hostile Environment for
Student Defendants: Title [X and Sexual Assault on College Campuses, 40 N. Ky. L. REV. 49 (2013); Barclay Sutton
Hendrix, Note, A Feather on One Side, A Brick on the Other: Tilting the Scale Against Males Accused of Sexual
Assault in Campus Disciplinary Proceedings, 47 GA. L. REV. 591, 594 (2013); Ryan D. Ellis, Mandating Injustice:
The Preponderance of the Evidence Mandate Creates a New Threat to Due Process on Campus, 32 REV. LITIG. 65,
80-81 (2013).

'' See Elizabeth Bartholet et al., Rethink Harvard’s Sexual Harassment Policy, BOSTON GLOBE (Oct. 15, 2014),
hitps://www.bostonglobe.com/opinion/2014/10/14/rethink-harvard-sexual-harassment-policy/HFDDIZN7nU2U wu)
uWMngqbM/story.html; David Rudovsky et al., Open Letter from Members of the Penn Law School Faculty, Sexual
Assault Complaints: Protecting Complainants and the Accused Students at Universities, PHILLY.COM (Feb. 18,
2015), hitp://media.philly.com/documents/OpenLetter.pdf.

" See Tovia Smith, Some Accused of Sexual Assault on Campus Say System Works Against Them, NPR
(Sept. 3, 2014, 3:31 AM), http://www-npr.org/2014/09/03/3453 12997/some-accused-of-campus-assault-say-the-
system-works-against-them; see also Emily Yoffe, The College Rape Overcorrection, SLATE (Dec. 7, 2014, 11:53
PM), http://www.slate.com/articles/double_x/doublex/2014/
12/college_rape_campus_sexual_assault_is_a serious _problem_but_the_efforts.html; Teresa Watanabe, More
College Men Are Fighting Back Against Sexual Misconduct Cases, L.A. TIMES (June 7, 2014, 6:15 PM), http://
www.latimes.com/local/la-me-sexual-assault-legal-20140608-story. html.

See United States Department of Education (“DOE”) Office for Civil Rights (“OCR”), Letter of Resolution in
Wesley College OCR Complaint No. 03-15-2329 (Sept. 30, 2016). (available at
nlinsy//>www2.cd eov/about/ollces/isl/oer/docs/investigalions/more/03 152529-b. pdf) (finding that Wesley College
violated Title IX by failing to provide accused students with essential procedural protections, not adhering to the
safeguards provided for in its own disciplinary policies and procedures; and not providing the accused student a full
opportunity to respond to the complaint, rebut the allegations, or defend himself at his hearing). See also United
States Department of Justice Civil Rights Division, Letter re Title IX and Tithe [V investigation of University of
New Mexico (April 22, 2016) (available at aitps:/svww Justice. covert tle/S<43926/cownload) (finding that the
University of New Mexico’s investigative process: failed to adequately inform respondents of the option to provide
their own version of events or to help identify pertinent witnesses or evidence; lacked provisions requiring that
complainants and respondents be provided regular updates regarding the investigation, which caused confusion and
negatively impacted both students; and did not have adequate procedures in place to provide academic
accommodations to respondent students that had been temporarily banned from campus for safety reasons).

 

 

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Piarowski v. Hlinois Community College, Judge Posner explained why: "We are reluctant to
encourage further bureaucratization by judicializing university disciplinary proceedings, mindful
also that one dimension of academic freedom is the right of academic institutions to operate free
of heavy-handed governmental, including judicial, interference.”'’ Recently, however, in the
wake of intensifying accused student litigation, courts across the country have started finding
that aspects of the procedures and practices used at a number of schools to investigate and
adjudicate reports of sexual misconduct violate principles of fundamental fairness, and in the
case of public institutions, procedural due process.'° For instance, on March 31, 2016, the
Massachusetts District Court ruled in favor of a Brandeis University student who had been found
responsible for “serious sexual transgressions.”'® The court wrote, “Brandeis appears to have
substantially impaired, if not eliminated, an accused student’s right to a fair and impartial
process.”'’ The court was particularly troubled by the deprivation of the right to cross-examine
the complainant as well as the lack of notice about the underlying allegations. ‘9

This Task Force was created to evaluate and address procedural protections for both
victims and the accused. It was comprised of a diverse assortment of leading figures who
together represented the interests of all of those at the table: victims, the accused, universities,
and others. The Task Force’s job was to come up with a set of recommendations that would
protect the due process rights of the accused while also protecting the rights of victims. Despite
the enormous undertaking (and some might say potential for irreconcilable differences), the Task
Force was able to reach consensus on a set of recommendations. In so doing, the Task Force
expounds upon the work previously undertaken by the ABA Commission on Domestic & Sexual
Violence in 2015. This report provides some additional clarification and discussion to our
recommendations.

I. Schools Rights and Responsibilities
A. Cooperation and Independence from law Enforcement

Some have suggested that universities should not adjudicate allegations of campus sexual
assault or that the criminal justice system should take the lead. A recent bill in Georgia, for

 

* Piarowski v. Llinois Community College Dist. 515, 759 F.2d 625, 629 (7th Cir.1985).
See Jake New, Court Wins for Accused, INSIDE HIGHER Epuc. (Nov. 5, 2015),
os /fwww_uisicenivbered com/news/20 15 |/OS more-students-ounished-over-sexug|-asaau |t-are-winnine-

lawsul colleges. Some argue that because of the coercive actions of OCR, private schools have become
state actors, which means that those students are entitled to the same constitutional rights as students at a public
university. See Tamara Rice Lave, A Critical Look at how Top Colleges and Universities Are Adjudicating Sexual
Assault, 71 U MIAMILL. R. 276 (2017).

'§ Doe v. Brandeis Univ., No. 15-11557-FDS, 2016 WL 1274533, at *4 (D. Mass. Mar. 31, 2016).

17

  
 

   

See

 

Id. at *6.
'S Td. at *33~35 (“While protection of victims of sexual assault from unnecessary harassment is a laudable
goal, the elimination of such a basic protection for the rights of the accused raises profound concerns. .. . Here, there

were essentially no third-party witnesses to any of the events in question, and there does not appear to have been any
contemporary corroborating evidence. The entire investigation thus turned on the credibility of the accuser and the
accused. Under the circumstances, the lack of an opportunity for cross-examination may have had a very substantial
effect on the fairness of the proceeding.”).

Td. at *33-34.

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instance, would have forbidden schools from handling campus sexual assault unless and until
there was a criminal investigation.”’ The Task Force was concerned that if a campus proceeding
were tied to the criminal justice system that many instances of sexual misconduct would never be
addressed. The Task Force believes it is appropriate for schools to resolve allegations of campus
sexual misconduct for the protection and betterment of the campus community, as long as they

do so fairly.
B. Investigation

Advocates for complainants and respondents have both experienced schools not
conducting a prompt, fair, and impartial investigation. All Task Force members agreed that it
was critical for schools to fully and fairly investigate both sides of a complaint of sexual
misconduct.

C. Confidentiality

The Task Force spoke at length about issues regarding confidentiality. The Task Force
wanted to ensure that the parties had access to necessary information in order to fairly adjudicate
their case, but at the same time, it wanted to protect against confidential information being
improperly distributed or disclosed. The Task Force was also concerned about parties not
understanding the limits of school confidentiality, and members agreed it was imperative that
they be informed.

IL. Resolving Allegations of Sexual Misconduct
A. Alternatives to Traditional Adjudication

The Task Force encourages schools to consider non-mediation alternatives to traditional
adjudication such as restorative justice processes (RJ). The Task Force stresses that these
alternatives should be research or evidence based and not simply a means or escape mechanism
for schools to avoid fully and fairly resolving allegations of campus sexual misconduct. Since
there is a lot of misunderstanding about restorative justice, this report will provide a brief
description.”! Before doing so, the Task Force wants to emphasize that RJ is only appropriate in
certain circumstances, such as when the offender does not pose an immediate or ongoing danger.
In addition, both parties must agree to participate in RJ, and should they withdraw their consent
at any time, the process must be stopped.

As Tom Tyler explains: “Restorative Justice argues that the social goal that should
dominate reactions to transgressions is to resolve the dispute via reintegrative shaming

 

*’ Jeremy Bauer-Wolf, Who Should Investigate Sexual Assaults, INSIDE HIGHER Ep, April 11, 2017;

https://www.insidehighered.com/news/2017/04/1 L/controversial-georgia-sexual-assault-bill-prompts-debate-
reporting.

: This section on restorative justice is taken in its entirety from the Task Force Reporter’s article on campus
sexual assault. Tamara Rice Lave, Ready, Fire, Aim: How Universities Are Failing the Constitution in Sexual
Assault Cases 48 ARIZONA STATE LAW JOURNAL 637, 696-700 (2016).

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[which]... combines strong disapproval of bad conduct with respect for the person who
committed those bad acts. The goal is restoring victims, offenders and the community.””” Unlike
mediation, which treats parties as neutral, the starting point for RJ is that “harm has been done
and someone is responsible for repairing it.”*> This distinction is important because the 1997
Guidance Document,” the 2001 Guidance Document,” and the 2011 Dear Colleague Letter”°
told schools that they could not use mediation in cases of sexual assault, even if voluntary.

Although RJ is geared towards reintegrating the transgressing student back into the
community, it is also dedicated to helping the victim heal and move forward. “A consensus of
published studies is that sexual assault victims need to tell their own storics about their own
experiences, obtain answers to questions, experience validation as a legitimate victim, observe
offender remorse for harming them, (and) receive support that counteracts isolations and self-
blame.””’ RJ responds to these needs. In conferencing (the most widely used model of RJ), the
first meeting begins with the responsible person (otherwise known as the respondent or the
accused) describing and taking responsibility for what he did and the victim describing the
impact of the violation.” Family and friends of both are present for support and are given the
opportunity to explain the impact of the harm.” A written redress plan is later formalized that
describes “the concrete means through which the responsible person will be held accountable
and remedy the impacts on victims and the community.”*? This can include counseling (sex
offender treatment, drug and alcohol interventions, and anger management), community service,
and victim restitution.*’ A one-year supervision period is put in place to monitor the responsible
person and make sure that he meets his commitments.”

RJ has been shown to be effective at lowering recidivism and empowering victims in
both academic and non-academic settings. A 2014 study by David Karp and Casey Sacks
compared outcomes across three different college disciplinary processes: model code (a term

 

See Tom R. Tyler, Restorative Justice and Procedural Justice: Dealing with Rule Breaking, 62 J. Soc. Just.

307, 315 (2006).

Mary P. Koss et al., Campus Sexual Misconduct: Restorative Justice Approaches to Enhance Compliance
with Title [IX Guidance, 15 TRAUMA, VIOLENCE, & ABUSE 242, 246 (2014), Koss argues that this distinction is
important: Judicial “responses to sexual misconduct must acknowledge and obviate the negative effects of societal
and individual norms that operate to silence victims and create opportunities for reabuse. When someone has been
harmed by another person, mediation that provides neutrality and treats parties as equal partners in the resolution
process is inappropriate.” Td. at 245-46. Koss also argues that because of this difference, colleges can adopt RJ and
not be in violation of the DCL. Id. at 246.

“Sexual Harassment Guidance: Harassment of Students by School Employees, Other Students, or Third
Parties, U.S. DEP’T OF EDUC., http://www2.ed.gov/about/offices/list/ocr/docs/sexhar01 html (last visited Nov. 7,
2016) [hereinafter Sexual Harassment Guidance 1997].

* U.S. Dep’ oF EDuc. OFFICE OF CIVIL RicHts, U.S. DEP’T OF EDUC., REVISED SEXUAL HARASSMENT
GUIDANCE: HARASSMENT OF STUDENTS BY SCHOOL EMPLOYEES, OTHER STUDENTS, OR THIRD PARTIES (2001)
{hereinafter REVISED SEXUAL HARASSMENT GUIDANCE],
bttos/svww.ed. govoltices/OCR/archives/pdi/sheuide.pdt at 21.

°° Dear Colleague Letter, supra note 4 at 2.

“7 Koss et al., supra note 22, at 246-47.

 

“Std. at 248.
29 Id.
Id.
sd.
2d.

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